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                                   Exhibit A1




1
    To NOA re: CMO 100 (10, 20, 40 mg cases)
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   PLAINTIFF        PLAINTIFF                                                 CIVIL CASE NO.
   LAST NAME       FIRST NAME

Knight         Bonnie                0:13‐cv‐01375
Johnson        Virgie                0:13‐cv‐03054
Jones          Marguerite W.         1:13‐cv‐01786
Hammond        Daisy                 1:13‐cv‐02765‐RMG
Kane           Gina(Waltraud)        2:13‐cv‐01012‐RMG
Turner         Susan Marie           2:13‐cv‐01108
Clark          Margaret              2:13‐cv‐01164
Jones          Joyce                 2:13‐cv‐01785
Gadsden        Waltina               2:13‐cv‐01921
Dantzler       Saradell(Saradelle)   2:13‐cv‐02766
Veronee        Connie                2:14‐cv‐00052
Guillory       Jennie                2:14‐cv‐00461‐RMG
Davis          Kathleen              2:14‐cv‐00462‐RMG
Padilla        Maria Rosa            2:14‐cv‐00463
Caston         Pamela (Estate of)    2:14‐cv‐00465
Strader        Diane                 2:14‐cv‐00469
Peevy          Martha                2:14‐cv‐00470‐RMG
Allen          Ethel                 2:14‐cv‐00471
Pauley         Betty                 2:14‐cv‐00473‐RMG
Shivers        Alice F.              2:14‐cv‐00474‐RGM
MATTHEWS       PEARL                 2:14‐CV‐00475‐RMG
Calamese       Ruthie M.             2:14‐cv‐00476‐RMG
Lewis          Gwendolyn             2:14‐cv‐00477‐RMG
Holbrook       Joyce                 2:14‐cv‐00478‐RMG
Murphy         Michele               2:14‐cv‐00479
Lumar          Jessie                2:14‐cv‐00481‐RMG
Miller         Ruby                  2:14‐cv‐00486‐RMG
Olson          Josette               2:14‐cv‐00487‐RMG
Tipton         Jeannie               2:14‐cv‐00490‐RMG
Johnson        Faith                 2:14‐cv‐00492
Jefferson      Kimberley             2:14‐cv‐00494‐RMG
House          Earlene               2:14‐cv‐00496‐RMG
Diaz           Feliza                2:14‐cv‐00497‐RMG




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   PLAINTIFF          PLAINTIFF                                           CIVIL CASE NO.
   LAST NAME         FIRST NAME

Hines             Kimberly        2:14‐cv‐00502
Isom              Aubrey          2:14‐cv‐00504‐RMG
Conner            Rhonda          2:14‐cv‐00505
Butler            Gladys          2:14‐cv‐00514
Ehlers            Carla           2:14‐cv‐00516
Gremillion        Alberta         2:14‐cv‐00519‐RMG
Christopher       Dianne          2:14‐cv‐00521
Smith             Vera            2:14‐cv‐00522
Morales           Christine       2:14‐cv‐00524‐RMG
McCraw            Shirley         2:14‐cv‐00532
Pryor             Joyce           2:14‐cv‐00533
Euyoque           Celina          2:14‐cv‐00553
Smith             Janie           2:14‐cv‐00554
Feather           Helen M.        2:14‐cv‐00558
Streetman         Juanita         2:14‐cv‐00561
Knutson           Mary            2:14‐cv‐00564
Baker             Kristie W.      2:14‐cv‐00565
Hatton            Gloria          2:14‐cv‐00566‐RMG
Lopez             Linda           2:14‐cv‐00567
Lowe              Faustine        2:14‐cv‐00568‐RMG
Conger            Carole          2:14‐cv‐00570
Hernandez‐Lopez   Elizabeth       2:14‐cv‐00571‐RMG
Jones             Cliffy          2:14‐cv‐00572‐RMG
Petersen          Mary            2:14‐cv‐00573
Rhoades           Nancy           2:14‐cv‐00580‐RMG
Brooks            Thelma          2:14‐cv‐00581‐RMG
Morgan            Lillian         2:14‐cv‐00582
Drains            Beatrice        2:14‐cv‐00583
Tull              Carolyn         2:14‐cv‐00584
Kearnes           Charlotte       2:14‐cv‐00585
Day               Zerita          2:14‐cv‐00586‐RMG
Hilbert           Colleen         2:14‐cv‐00587
Graham            Nancy           2:14‐cv‐00588
Jones             Judy            2:14‐cv‐00589
Howard            Wanda           2:14‐cv‐00590
Sloan             Marguerite      2:14‐cv‐00591
Berry             Bonita          2:14‐cv‐00592‐RMG
Garrett           Rebecca         2:14‐cv‐00593
Parsons           Mary            2:14‐cv‐00595
Triplett          Jessie          2:14‐cv‐00596


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    PLAINTIFF        PLAINTIFF                                             CIVIL CASE NO.
    LAST NAME       FIRST NAME

Dubuisson       Susan              2:14‐cv‐00597‐RMG
Strattan        Sandra             2:14‐cv‐00598
Moore           Edna               2:14‐cv‐00599
Cole            Annette            2:14‐cv‐00600
Magee           Mary               2:14‐cv‐00601‐RMG
Burrow          Edna               2:14‐cv‐00603
Compton         Cherie             2:14‐cv‐00604
Baldwin         Seona              2:14‐cv‐00605‐RMG
Berkheiser      Melody             2:14‐cv‐00606‐RMG
Baugh           Marlon A.          2:14‐cv‐00607
Williams        Ruth               2:14‐cv‐00609‐RMG
Bossart         Norma              2:14‐cv‐00610‐RMG
Brown           Shirley            2:14‐cv‐00612‐RMG
McLeod          Vallinda           2:14‐cv‐00615
Hollandsworth   Sharon             2:14‐cv‐00616
Chatman         Peggy              2:14‐cv‐00617‐RMG
Bennett         Marilyn            2:14‐cv‐00626
Wentz           Constance          2:14‐cv‐00627
Buckley         Katie              2:14‐cv‐00629
Renner          Yvonitha Gail      2:14‐cv‐00633
Smith           Brenda J.          2:14‐cv‐00634‐RMG
Stephens        Annie              2:14‐CV‐00635
Plume           Marite             2:14‐cv‐00636‐RMG
Fields          Brenda             2:14‐cv‐00637‐RMG
Cawfield        Deborah            2:14‐cv‐00638
Rincon          Estela             2:14‐cv‐00641‐RMG
Corner          Cassandra          2:14‐cv‐00642‐RMG
Lastoria        Barbara            2:14‐cv‐00653‐RMG
Jones           Rene J.            2:14‐cv‐00654
Drusbasky       Martha             2:14‐cv‐00655
Bryant          De'Borah           2:14‐cv‐00656
Pitchford       Georgia            2:14‐cv‐00657‐RMG
Chadwick        Catherine L.       2:14‐cv‐00660
Feemster        Sharon             2:14‐cv‐00661
Grass           Sandra             2:14‐cv‐00662‐RMG
Jackson         Yevone             2:14‐cv‐00663‐RMG
Shurley         Nancy              2:14‐cv‐00664
Hockensmith     Louise             2:14‐cv‐00675‐RMG
Karolak         Jane (Estate of)   2:14‐cv‐00676
Mathis          Rosie              2:14‐cv‐00678‐RMG


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     PLAINTIFF        PLAINTIFF                                           CIVIL CASE NO.
     LAST NAME       FIRST NAME

DiCenzi          Patricia         2:14‐cv‐00680
Hawkins          Mary             2:14‐cv‐00681
Van Deusen       MargaretAnn      2:14‐cv‐00683
Jenkins          Michelle         2:14‐cv‐00685‐RMG
Gipson           Rosemary         2:14‐cv‐00686‐rmg
Amolsch          Patricia         2:14‐cv‐00687
Bellon           Martha           2:14‐cv‐00688
Lee              Carol            2:14‐cv‐00689‐RMG
Baker            Sandra           2:14‐cv‐00690
Henderson        Lois             2:14‐cv‐00691
Woods            Linda            2:14‐cv‐00692
Kimbrough        Marilyn          2:14‐cv‐00697‐RMG
Starnes          Martha C.        2:14‐cv‐00698‐RMG
Carreker         Doris            2:14‐cv‐00700‐RMG
Chance           Patricia         2:14‐cv‐00702‐RMG
Story            Royce            2:14‐cv‐00703‐RMG
Smith            Denise           2:14‐cv‐00711‐RMG
Holman           Christine        2:14‐cv‐00713‐RMG
Krone            Janice           2:14‐cv‐00716
Maisonet         Amina            2:14‐cv‐00723‐RMG
Taylor           Anne G.          2:14‐cv‐00724‐RMG
Robinson         JannieMitchell   2:14‐cv‐00725‐RMG
Jennings         Joyce            2:14‐cv‐00727‐RMG
Robinson         Helen            2:14‐cv‐00730‐RMG
Griffith‐Gills   Jacqueline       2:14‐cv‐00731
Johnson          Sheba B.         2:14‐cv‐00732
Little           Effie            2:14‐cv‐00733‐RMG
Grimes           Barbara          2:14‐cv‐00740‐RMG
Austin           Bessie           2:14‐cv‐00753‐RMG
Baham            Deborah          2:14‐cv‐00772
Johnson          Ruth             2:14‐cv‐00782
Anderson         Judy             2:14‐cv‐00794‐RMG
Calvin           Desiree          2:14‐cv‐00795
Crow             Dorothy          2:14‐cv‐00798
Banas            Kathleen         2:14‐cv‐00799
Smith            Joyce            2:14‐cv‐00802




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    PLAINTIFF        PLAINTIFF                                           CIVIL CASE NO.
    LAST NAME       FIRST NAME

Greenwood       Bettye           2:14‐cv‐00805‐RMG
Bates           Vesta M.         2:14‐cv‐00806
Jones           Lelia            2:14‐cv‐00807‐RMG
McCall          Mary             2:14‐cv‐00808
Smith           Jean             2:14‐cv‐00809‐RMG
Tennant         Dorothy          2:14‐cv‐00811‐RMG
Dangerfield     Nancy            2:14‐cv‐00820‐RMG
Hicks           Esther           2:14‐cv‐00821‐RMG
Zumfelde        Dianne           2:14‐cv‐00822‐RMG
Yoder           Celia            2:14‐cv‐00823‐RMG
Halfhill        Janet            2:14‐cv‐00824‐RMG
Philip          Aleyamma         2:14‐cv‐00825‐RMG
Pitts           Sarah            2:14‐cv‐00827
Corrales        Millie           2:14‐cv‐00828‐RMG
Kirkland        Mary             2:14‐cv‐00833‐RMG
Woltcheck       Yvonne           2:14‐cv‐00834
Frazier         Reather Ann      2:14‐cv‐00843‐RMG
Baker           Surekha          2:14‐cv‐00844
Lott‐Person     Sharon           2:14‐cv‐00845‐RMG
Valenti         Micheline J.     2:14‐cv‐00846‐RMG
Jackson         Marsha           2:14‐cv‐00848
Rumph           Dorothy          2:14‐cv‐00849‐RMG
Schulte         MarjorieE.       2:14‐cv‐00850‐RMG
Williams        Karlene          2:14‐cv‐00851
Cook            Cindy            2:14‐cv‐00852‐RMG
Heesen          Cheryl           2:14‐cv‐00853‐RMG




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   PLAINTIFF        PLAINTIFF                                           CIVIL CASE NO.
   LAST NAME       FIRST NAME

Manning        Johnette         2:14‐cv‐00854‐RMG
Wingett        Denise           2:14‐cv‐00856‐RMG
Gonzalez       Barbara          2:14‐cv‐00857
Davis          Deeana           2:14‐cv‐00861
Hunt‐Harkin    Roseanne         2:14‐cv‐00864‐RMG
Walsh          Diane            2:14‐cv‐00872
Gordon         Bonnie           2:14‐cv‐00879
Giusto         Sandra           2:14‐cv‐00880
Davis          Jennie M.        2:14‐cv‐00881
Reynolds       Etta             2:14‐cv‐00882
Whitener       Melinda          2:14‐cv‐00883
Saddler        Sharon           2:14‐cv‐00884
Delseno        Judith           2:14‐cv‐00886
Gossett        Ella             2:14‐cv‐00899‐RMG
Shepherd       June             2:14‐cv‐00900‐RMG
Bedi           Manjeekaur       2:14‐cv‐00904
Parris         Betty            2:14‐cv‐00908
Bailey         Tamala G.        2:14‐cv‐00909
Wyks           Pamela           2:14‐cv‐00910
Jordan         Jean             2:14‐cv‐00912
Phan           Kim Ren          2:14‐cv‐00913
Chandler       Olivene          2:14‐cv‐00914
Unger          Alice            2:14‐cv‐00915
Pham           Nghiep           2:14‐cv‐00916
Nguyen         Phung Thi        2:14‐cv‐00917
Williams       Patricia A.      2:14‐cv‐00919‐RMG
Kaplan         Susan            2:14‐cv‐00920
Nguyen         Chinh            2:14‐cv‐00922
Hudson         Otelia           2:14‐cv‐00933
Zdunek         Lynn             2:14‐cv‐00935‐RMG
Grubb          Linda            2:14‐cv‐00937
Schrader       Sally            2:14‐cv‐00938‐RMG
DiCicco        Maria            2:14‐cv‐00939
Dotson         Donna F.         2:14‐cv‐00940‐RMG
Sledz          Alice            2:14‐cv‐00941‐RMG
Wood           Crystal          2:14‐cv‐00953
Lutvi          Zelije           2:14‐cv‐00955‐RMG




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   PLAINTIFF           PLAINTIFF                                           CIVIL CASE NO.
   LAST NAME          FIRST NAME

Pritchard         Bernice          2:14‐cv‐00956‐RMG
Gaiton            Kim              2:14‐cv‐00962
Larimer           Rebecca          2:14‐cv‐00963
Maloney           Carla            2:14‐cv‐00964
Rayford           Kim              2:14‐cv‐00965
Trujillo          Yukimi           2:14‐cv‐00966
Barker            Sue              2:14‐cv‐00976
Catlin            Averdella        2:14‐cv‐00977
Anderson          Beverly          2:14‐cv‐00978
Culbreth          Jacqueline       2:14‐cv‐00980
Dawson            Elaine           2:14‐cv‐00982
Brucciani         Paula            2:14‐cv‐00983
Sheneman          Patsy            2:14‐cv‐00985
Drew              Cynthia          2:14‐cv‐00988
Cravens           Marque           2:14‐cv‐00990
Montoya           Pamela           2:14‐cv‐00992
Fowler            Kathy            2:14‐cv‐00997
Jackson           Marina           2:14‐cv‐00999
Joyce             Mitchelle        2:14‐cv‐01001
Bishop            Virginia         2:14‐cv‐01002
Orrell            Rosalie          2:14‐cv‐01003
Lumley            Barbara          2:14‐cv‐01004
Fillmore          Wanda            2:14‐cv‐01007
Wyrick            Pamela           2:14‐cv‐01010‐RMG
Hamilton          Ella             2:14‐cv‐01011
Beems             Alice            2:14‐cv‐01012
Firmin            Rosemary         2:14‐cv‐01013
Hammerschmidt     Nora             2:14‐cv‐01014
Lemaire           Rebecca          2:14‐cv‐01015
Stoneking         Carolyn          2:14‐cv‐01017
Sayre             Cheryl           2:14‐cv‐01018
Good‐Montgomery   Nancy            2:14‐cv‐01019‐RMG
Wright            Melva            2:14‐cv‐01020
Given             Virginia Ann     2:14‐cv‐01021
Porter            Dorothy          2:14‐cv‐01026‐RMG
Richeson          Joyce            2:14‐cv‐01027
Goodson           Lillian A.       2:14‐cv‐01028
Harris            Bonita           2:14‐cv‐01031
Martin            Mary‐Lynn        2:14‐cv‐01034


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    PLAINTIFF          PLAINTIFF                                           CIVIL CASE NO.
    LAST NAME         FIRST NAME

Dario             Cathy            2:14‐cv‐01036
Banks             Katie            2:14‐cv‐01037
Croom             Janet            2:14‐cv‐01038
Wallace           Lisa             2:14‐cv‐01043‐RMG
Bass              Bonnie           2:14‐cv‐01045‐RMG
Casanas           Linda            2:14‐cv‐01051‐RMG
Calvin            Phyllis          2:14‐cv‐01054
Spivey            Francese         2:14‐cv‐01071
Castillo          Manuela          2:14‐cv‐01072
Turpin            Kathy            2:14‐cv‐01074
Froug             Mona             2:14‐cv‐01077
Fountain          Patricia         2:14‐cv‐01085
Lawton            Diane            2:14‐cv‐01086
Trueluck‐Hardin   Alberta          2:14‐cv‐01087
Pace              Peggy            2:14‐cv‐01088‐RMG
Means             Sharon           2:14‐cv‐01121
Alker             Cheryl           2:14‐cv‐01122
Moffett           Louise           2:14‐cv‐01123
Brown‐Freddie     Loretta          2:14‐cv‐01125
Cook              Marie            2:14‐cv‐01128
Rabak             Georgetta        2:14‐cv‐01129‐RMG
Waller            Debra            2:14‐cv‐01130‐RMG
Carter            Gardeen          2:14‐cv‐01131‐RMG
Kimbrough         Charlene         2:14‐cv‐01168




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    PLAINTIFF        PLAINTIFF                                             CIVIL CASE NO.
    LAST NAME       FIRST NAME

Johnson         Janet            2:14‐cv‐01233
Hervey          Marlene          2:14‐cv‐01256‐RMG
Jenkins         Rutha            2:14‐cv‐01260
Frame           Janelle          2:14‐cv‐01276‐RMG
Copen           Edna             2:14‐cv‐01279‐RMG
Savley          Nora             2:14‐cv‐01282‐RMG
Wills           Ginger           2:14‐cv‐01283‐RMG
Fisher          Laura            2:14‐cv‐01284‐RMG
Nunn            Leona            2:14‐cv‐01286
Green           Dorothy          2:14‐cv‐01304‐RMG
Norfleet        Lorraine         2:14‐cv‐01309
Stack           Wilma            2:14‐cv‐01321
Mack            Stella           2:14‐cv‐01322‐RMG
Maldonado       Judy             2:14‐cv‐01330‐RMG
Andolsek        Susan            2:14‐cv‐01331
Pierce          Brenda           2:14‐cv‐01334
Green           Lonzetta         2:14‐cv‐01335‐RMG
Landry          Linda            2:14‐cv‐01336
Moye            Mable            2:14‐cv‐01337‐RMG
Rivas           Rosie            2:14‐cv‐01338
Christy         Irene            2:14‐cv‐01340
Clack           Nadine           2:14‐cv‐01341‐RMG
Higginbottom    Pamela           2:14‐cv‐01342‐RMG
Dorries         Freda            2:14‐cv‐01343‐RMG
Lopez           Ramona           2:14‐cv‐01345
Hart            Priscilla        2:14‐cv‐01347
Tromp           Marianne         2:14‐cv‐01348
Oberding        Gail             2:14‐cv‐01351
Jackson         Valesca          2:14‐cv‐01352
Wright          Victorine        2:14‐cv‐01352
McCulloch       Derita           2:14‐cv‐01353‐RMG
Taylor          LaQuisha         2:14‐cv‐01358‐RMG
Burton          Ida Joyce        2:14‐cv‐01359‐RMG
Coon            Gloral J.        2:14‐cv‐01359‐RMG
Eversen         Florence         2:14‐cv‐01359‐RMG
Leraaen         Myra             2:14‐cv‐01359‐RMG




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    PLAINTIFF            PLAINTIFF                                               CIVIL CASE NO.
    LAST NAME           FIRST NAME

Moore               Margaret           2:14‐cv‐01359‐RMG
Oldewurtel          Pamela             2:14‐cv‐01359‐RMG
Perez               Olivia             2:14‐cv‐01359‐RMG
Pierzynski          Kathleen           2:14‐cv‐01359‐RMG
Tatum               Nancy              2:14‐cv‐01359‐RMG
Waddell             Carol A.           2:14‐cv‐01359‐RMG
Alderman            Dorothy            2:14‐cv‐01359‐RMG
Backes              Vicki              2:14‐cv‐01359‐RMG
Blair               Estate of Minnie   2:14‐cv‐01359‐RMG
Ellis               Carla              2:14‐cv‐01359‐RMG
Hinson              Felicia            2:14‐cv‐01359‐RMG
Marks               Gladys             2:14‐cv‐01359‐RMG
Miller              Anne               2:14‐cv‐01359‐RMG
Miller              Ellen              2:14‐cv‐01359‐RMG
Cook                Alice              2:14‐cv‐01370‐RMG
Pfau                Roberta Jean       2:14‐cv‐01377‐RMG
Martin              Bette              2:14‐cv‐01378
Hernandez           Maria              2:14‐cv‐01379
Thompson            Carole             2:14‐cv‐01380‐RMG
Stankos             Judy               2:14‐cv‐01384‐RMG
Robertson           Gladys             2:14‐cv‐01387‐RMG
Talton              Marty              2:14‐cv‐01388‐RMG
Williams‐Callaway   Willie Mae         2:14‐cv‐01390‐RMG
Allen               Helga              2:14‐cv‐01391‐RMG
Yancey              Florela S.         2:14‐cv‐01392‐RMG
Bobo                Janice             2:14‐cv‐01393‐RMG
Anderson            Karen M.           2:14‐cv‐01394‐RMG
Rivera              Edna M.            2:14‐cv‐01395‐RMG
Bertram             Pamela             2:14‐cv‐01396‐RMG
Black               Joyce E.           2:14‐cv‐01397‐RMG
Bowens              Vickie L.          2:14‐cv‐01398‐RMG
DelRio              Herminia           2:14‐cv‐01402‐RMG
Cox                 Marline            2:14‐cv‐01403‐RMG
Fenex               Patricia           2:14‐cv‐01405‐RMG
Gonzales            Treva              2:14‐cv‐01406‐RMG
Orr                 Marjorie           2:14‐cv‐01407
Duffey              Jo Ann             2:14‐cv‐01408‐RMG
Thompson            Ella               2:14‐cv‐01412‐RMG
Harris              Louise             2:14‐cv‐01413‐RMG
Ames                KatherineP.        2:14‐cv‐01415‐RMG


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    PLAINTIFF       PLAINTIFF                                             CIVIL CASE NO.
    LAST NAME      FIRST NAME

Ellis‐Johnson   Joyce           2:14‐cv‐01418
Arnold          Bonnie          2:14‐cv‐01419‐RMG
Jones           Dianna          2:14‐cv‐01420‐RMG
Baker           Evelyn D.       2:14‐cv‐01421‐RMG
Whitley         Leila           2:14‐cv‐01422‐RMG
Barrera         Manuela         2:14‐cv‐01423‐RMG
Arnold          Pamela J.       2:14‐cv‐01425‐RMG
Behnfield       Deborah S.      2:14‐cv‐01428‐RMG
Cleland         Rita            2:14‐cv‐01430‐RMG
Rockel          Doris           2:14‐cv‐01431
Berstrom        Jeri            2:14‐cv‐01432‐RMG
Federico        Rita            2:14‐cv‐01434‐RMG
Gallagher       Verna M.        2:14‐cv‐01435‐RMG
Fowler          Carol           2:14‐cv‐01436‐RMG
Stephens        Patricia        2:14‐cv‐01438‐RMG
Traylor         Patricia        2:14‐cv‐01439‐RMG
Gallegos        Lucy L.         2:14‐cv‐01442‐RMG
Gomez           Renate          2:14‐cv‐01444‐RMG
Waring          Rebecca Hyon    2:14‐cv‐01445‐RMG
Waters          Cheryl          2:14‐cv‐01446‐RMG
Watts           Herminigilda    2:14‐cv‐01447‐RMG
Gougler         Leila           2:14‐cv‐01448‐RMG
Wedin           Sundie          2:14‐cv‐01449‐RMG
Wilhite         Adrienne        2:14‐cv‐01450‐RMG
Wilson‐Clark    Cynthia         2:14‐cv‐01451‐RMG
Blankenship     Esther          2:14‐cv‐01452‐RMG
Hernandez       Christine       2:14‐cv‐01453‐RMG
Gray            Edith A.        2:14‐cv‐01455‐RMG
Hand            Yvette C.       2:14‐cv‐01458‐RMG
King            Linda           2:14‐cv‐01459‐RMG
Krakowski       Leah            2:14‐cv‐01460‐RMG
Howell          Sharon          2:14‐cv‐01461‐RMG
McLaughlin      Jean M.         2:14‐cv‐01462‐RMG
Crowley         Rena            2:14‐cv‐01463‐RMG
Flake           Peggy A.        2:14‐cv‐01465‐RMG
Jungles         Melanie L.      2:14‐cv‐01467‐RMG




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    PLAINTIFF        PLAINTIFF                                             CIVIL CASE NO.
    LAST NAME       FIRST NAME

Norris           Marilyn D.      2:14‐cv‐01468‐RMG
Martinez         Vivian          2:14‐cv‐01470‐RMG
Horton           Wilma           2:14‐cv‐01471‐RMG
Gramm            Grace           2:14‐cv‐01472‐RMG
Lucero           Elvira L.       2:14‐cv‐01473‐RMG
Marshall‐Coray   Susan           2:14‐cv‐01474‐RMG
HarrisonRupp     GertrudeAnn     2:14‐cv‐01475‐RMG
Craven           Diana L.        2:14‐cv‐01476‐RMG
Jones            Shirley         2:14‐cv‐01478‐RMG
Hernandez        Rita            2:14‐cv‐01479‐RMG
Duran            Lillian M.      2:14‐cv‐01480‐RMG
Nicolau          Alice J.        2:14‐cv‐01481‐RMG
Gaccetta         Carol M.        2:14‐cv‐01483‐RMG
Tolhurst         Linda           2:14‐cv‐01484‐RMG
Pigford          Jane            2:14‐cv‐01485‐RMG
Ristoff          Joan            2:14‐cv‐01487‐RMG
Olivas           Nancy           2:14‐cv‐01489‐RMG
Wait             Sandra          2:14‐cv‐01490‐RMG
Pollok           ChristineR.     2:14‐cv‐01491‐RMG
Quillin          Barbara         2:14‐cv‐01492‐RMG
Victorian        Patricia        2:14‐cv‐01493‐RMG
Reyes            Delfina         2:14‐cv‐01494‐RMG
Sailas           Barbara M.      2:14‐cv‐01496‐RMG
Packwood         Deborah         2:14‐cv‐01497‐RMG
Sambrano         Maryann         2:14‐cv‐01498‐RMG
Altaro           Kathleen        2:14‐cv‐01499‐RMG
Amadon           Sharon          2:14‐cv‐01499‐RMG
Ammons           Johnnie         2:14‐cv‐01499‐RMG
Aronson          Judie           2:14‐cv‐01499‐RMG
Bagley           Shelia          2:14‐cv‐01499‐RMG
Barrett          Linda           2:14‐cv‐01499‐RMG
Bethune          Glenda          2:14‐cv‐01499‐RMG




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   LAST NAME       FIRST NAME

Bishop         Virginia         2:14‐cv‐01499‐RMG
Bray‐McDole    Debra J.         2:14‐cv‐01499‐RMG
Bruce          Sylvia           2:14‐cv‐01499‐RMG
Castaneda      Maria            2:14‐cv‐01499‐RMG
Charleville    Patsy            2:14‐cv‐01499‐RMG
Corallo        Joanne           2:14‐cv‐01499‐RMG
Day            Betty            2:14‐cv‐01499‐RMG
Dixson         Martha           2:14‐cv‐01499‐RMG
Franks         Shirley          2:14‐cv‐01499‐RMG
Friedland      Dorothy          2:14‐cv‐01499‐RMG
Galbraith      Betty            2:14‐cv‐01499‐RMG
Gravitte       Retha            2:14‐cv‐01499‐RMG
Hendrix        Mary             2:14‐cv‐01499‐RMG
Joyce          Lois A.          2:14‐cv‐01499‐RMG
Lowery         Peggy            2:14‐cv‐01499‐RMG
McDonald       Skye             2:14‐cv‐01499‐RMG
McKelvey       Dianna           2:14‐cv‐01499‐RMG
Pitkin         Judy             2:14‐cv‐01499‐RMG
Banks          Nancy            2:14‐cv‐01500‐RMG
Bennett        Margaret         2:14‐cv‐01500‐RMG
Diaz           Providencia      2:14‐cv‐01500‐RMG
Fuchs          Ellen            2:14‐cv‐01500‐RMG
Garcia         Magdalena        2:14‐cv‐01500‐RMG
Giddings       Paulene          2:14‐cv‐01500‐RMG
Gunawan        Fenny            2:14‐cv‐01500‐RMG
Harris         Earlene          2:14‐cv‐01500‐RMG
Lee            Marietta         2:14‐cv‐01500‐RMG
Lester         Patricia         2:14‐cv‐01500‐RMG
Martinez       Olga             2:14‐cv‐01500‐RMG
McGee          Shirley          2:14‐cv‐01500‐RMG
Nelson         Victoria         2:14‐cv‐01500‐RMG
Orsello        Jean             2:14‐cv‐01500‐RMG




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   PLAINTIFF        PLAINTIFF                                                    CIVIL CASE NO.
   LAST NAME       FIRST NAME

Pitak          Florence                2:14‐cv‐01500‐RMG
Schiffman      Edith(deceased)         2:14‐cv‐01500‐RMG
Steele         Pauline                 2:14‐cv‐01500‐RMG
Sterback       Lucille E. (deceased)   2:14‐cv‐01500‐RMG
Street         Zeffar                  2:14‐cv‐01500‐RMG
Sukhoo         Binwattie               2:14‐cv‐01500‐RMG
Summers        Sandra                  2:14‐cv‐01500‐RMG
Tagle          Maria Elena             2:14‐cv‐01500‐RMG
Traylor        Fannie                  2:14‐cv‐01500‐RMG
Trolman        Hillary                 2:14‐cv‐01500‐RMG
Tukes          MargaretLee             2:14‐cv‐01500‐RMG
Turk           Eloise O.               2:14‐cv‐01500‐RMG
Walker         Theresa W.              2:14‐cv‐01500‐RMG
Ward           Carnelia K.             2:14‐cv‐01500‐RMG
Washington     Oheila                  2:14‐cv‐01500‐RMG
Wehling        Helen J.                2:14‐cv‐01500‐RMG
Whitehead      Dorothy                 2:14‐cv‐01500‐RMG
Wilder         Robbie Nell             2:14‐cv‐01500‐RMG
Willis         Teresa T.               2:14‐cv‐01500‐RMG
Wilson         Karen Ann               2:14‐cv‐01500‐RMG
Young          Shirley A.              2:14‐cv‐01500‐RMG
Case           Brenda                  2:14‐cv‐01501
Walker         Eloise                  2:14‐cv‐01501
Rawdon         Elizabeth               2:14‐cv‐01502‐RMG
Martin         Jean                    2:14‐cv‐01503‐RMG
Romero         Debra Leann             2:14‐cv‐01504‐RMG
Tinius         Mary L.                 2:14‐cv‐01505‐RMG
Souturas       Rosemary                2:14‐cv‐01508‐RMG
Ross           Debra                   2:14‐cv‐01509‐RMG
Routt          Beverly J.              2:14‐cv‐01511‐RMG
Smiley         Beverly                 2:14‐cv‐01512‐RMG
Stone          Lois W.                 2:14‐cv‐01513‐RMG
Lesker         Brandy                  2:14‐cv‐01514‐RMG
Ridder         Viola E.                2:14‐cv‐01515‐RMG
Nash           Yvonne                  2:14‐cv‐01516‐RMG




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    PLAINTIFF        PLAINTIFF                                             CIVIL CASE NO.
    LAST NAME       FIRST NAME

Maes            Marita           2:14‐cv‐01517‐RMG
Leon            Martha E.        2:14‐cv‐01520‐RMG
Sebben          Coralynne        2:14‐cv‐01521‐RMG
Smith           Lydia M.         2:14‐cv‐01522‐RMG
Snyder          Benetta B.       2:14‐cv‐01526‐RMG
Spackman        Gillian M.       2:14‐cv‐01528‐RMG
Marshall        Gloria Jean      2:14‐cv‐01529‐RMG
Coleman         Jackie           2:14‐cv‐01550‐RMG
Copeland        Gail             2:14‐cv‐01551‐RMG
Cooperstein     Ann              2:14‐cv‐01554‐RMG
Neves           Nanette          2:14‐cv‐01555‐RMG
Failla          Lynda            2:14‐cv‐01556‐RMG
Zappardino      Jennie           2:14‐cv‐01557‐RMG
Jackson         Diane            2:14‐cv‐01558‐RMG
Pierson         Faith            2:14‐cv‐01559‐RMG
Ahladianakis    Argiro           2:14‐cv‐01560‐RMG
Demming         Annette          2:14‐cv‐01561‐RMG
Kroll           Sharon           2:14‐cv‐01562‐RMG
Honoken         Mary             2:14‐cv‐01563
Bryant          Georgia          2:14‐cv‐01564
Rumph           Annie            2:14‐cv‐01570‐RMG
Silmon          Charlotte        2:14‐cv‐01571‐RMG
Gagante         Merli            2:14‐cv‐01575
Hammack         Joyce            2:14‐cv‐01576‐RMG
Mayavski        Margaret E.      2:14‐cv‐01581‐RMG
Payne           Barbara          2:14‐cv‐01582‐RMG
Smith           Connie           2:14‐cv‐01587‐RMG
Hand            Carolyn          2:14‐cv‐01590‐RMG
Finley          Lela             2:14‐cv‐01591‐RMG
Brown           Ella             2:14‐cv‐01592‐RMG




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    LAST NAME      FIRST NAME

Eddy            Barbara         2:14‐cv‐01594‐RMG
Gerber          Dorothy         2:14‐cv‐01595‐RMG
Bier            Davida          2:14‐cv‐01596‐RMG
Kiter           Marty           2:14‐cv‐01597‐RMG
Stage           Sandra          2:14‐cv‐01598‐RMG
Martino         Francene        2:14‐cv‐01599‐RMG
Georgeson       Lorraine        2:14‐cv‐01600‐RMG
Soule           Heather         2:14‐cv‐01601‐RMG
Leonard         Kathie          2:14‐cv‐01604‐RMG
Katarzynski     Margaret        2:14‐cv‐01605‐RMG
Green           Josephine       2:14‐cv‐01608‐RMG
Ogline          Virginia        2:14‐cv‐01609‐RMG
Watkins         Dorothy         2:14‐cv‐01611‐RMG
Lang            Regina          2:14‐cv‐01612_RMG
Murtiff         Margaret        2:14‐cv‐01613‐RMG
Bosma           Doris           2:14‐cv‐01614‐RMG
Miller          Bonnie          2:14‐cv‐01617‐RMG
Tomlin          Marlynn         2:14‐cv‐01618‐RMG
Hill            Elizabeth       2:14‐cv‐01619
Cole            Patricia        2:14‐cv‐01620
Zaffuto         Judith          2:14‐cv‐01624‐RMG
Evans           Clara           2:14‐cv‐01625‐RMG
Mather          Barbara         2:14‐cv‐01627‐RMG
Reed            Cheryl          2:14‐cv‐01628‐RMG
Balentine       Linda           2:14‐cv‐01629‐RMG
Steele          Brenda          2:14‐cv‐01631‐RMG
Parks           Pamela          2:14‐cv‐01632‐RMG
Diaz            Celia           2:14‐cv‐01635
Kelley          Brenda          2:14‐cv‐01637‐RMG




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   PLAINTIFF       PLAINTIFF                                             CIVIL CASE NO.
   LAST NAME      FIRST NAME

Roberts        Brenda          2:14‐cv‐01661
Acevedo        Yadira D.       2:14‐cv‐01691
Angangan       Dorothy         2:14‐cv‐01705
Blair          Mildred         2:14‐cv‐01707
Capone         Angela          2:14‐cv‐01708
Clements       Nancy S.        2:14‐cv‐01709
Cline          Frances         2:14‐cv‐01710
Elliott        Vivian          2:14‐cv‐01712
Johnson        Barbara         2:14‐cv‐01713
Lisker         Carol           2:14‐cv‐01714
Hubbard        Dinah Kaye      2:14‐cv‐01715‐RMG
McCoy          Marieellanna    2:14‐cv‐01717
Stanford       Helen           2:14‐cv‐01719
Thomas         Patricia        2:14‐cv‐01720
Walsh          Janet           2:14‐cv‐01721
Lindsay        Helen           2:14‐cv‐01722‐RMG
Newsom         Brenda          2:14‐cv‐01723‐RMG
Johnson        Velma           2:14‐cv‐01724‐RMG
Harfield       Mary K.         2:14‐cv‐01726
McAuliffe      Linda           2:14‐cv‐01728
McLean         Lola            2:14‐cv‐01730
Roberts        Mary            2:14‐cv‐01734
Winkelman      Kelly           2:14‐cv‐01737
Weiman         Janice          2:14‐cv‐01738
Zwicker        Barbara         2:14‐cv‐01739
Savolt         Jessie          2:14‐cv‐01740
Hughes         Mattie M.       2:14‐cv‐01741
Holmes         Vernestine      2:14‐cv‐01742
Ford           Susan           2:14‐cv‐01752‐RMG
Shuster        Arlene          2:14‐cv‐01753‐RMG
Wiley          Lori            2:14‐cv‐01754‐RMG
Shaw           Sandra J.       2:14‐cv‐01755‐RMG
Williams       Kimberli        2:14‐cv‐01781
Whipple        Julia           2:14‐cv‐01782
Thomas         Johnann         2:14‐cv‐01786
Davis          Barbara A.      2:14‐cv‐01798




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   PLAINTIFF        PLAINTIFF                                             CIVIL CASE NO.
   LAST NAME       FIRST NAME

Foerch         Donna            2:14‐cv‐01813‐RMG
Allen          Rosezel          2:14‐cv‐01817‐RMG
Parker         Dorothy          2:14‐cv‐01820
Carter         Beverly          2:14‐cv‐01821
Chinn          Kay C.           2:14‐cv‐01826
Wiegard        Judy             2:14‐cv‐01827
Williams       Vivian           2:14‐cv‐01828
Conner         Gielsa           2:14‐cv‐01847‐RMG
Jones          Pamela           2:14‐cv‐01848‐RMG
Barnes         Gloria           2:14‐cv‐01850
Barnett        Arnesta          2:14‐cv‐01851
Honeycutt      Kathy            2:14‐cv‐01853
Wright         Doris            2:14‐cv‐01854
Dickson        Betty            2:14‐cv‐01882‐RMG
Smith          Karen            2:14‐cv‐01884
Slaughter      Debra            2:14‐cv‐01895
Evans          Delores          2:14‐cv‐01899‐RMG
Jenkins        Cheryl           2:14‐cv‐01917‐RMG
Lavender       Olivia           2:14‐cv‐01923‐RMG
Nickels        Patty            2:14‐cv‐01924‐RMG
Combs          Rosalee          2:14‐cv‐01926‐RMG
Martin         Charlene         2:14‐cv‐01929‐RMG
Ayala          Elaine           2:14‐cv‐01934‐RMG
LeBlanc        Katherine        2:14‐cv‐01939
Wright         Henrie Joyce     2:14‐cv‐01940
Adams‐Dodson   Mary C.          2:14‐cv‐01941
Chavez         Carmen           2:14‐cv‐01942
Cloud          Ruth Ann         2:14‐cv‐01943
Coffey         Barbara J.       2:14‐cv‐01945
Knierien       ChristineM.      2:14‐cv‐01952
Cogswell       Sherry M.        2:14‐cv‐01960




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    PLAINTIFF        PLAINTIFF                                             CIVIL CASE NO.
    LAST NAME       FIRST NAME

Thompson        Suzanne          2:14‐cv‐01968‐RMG
Hoover          Mary             2:14‐cv‐01975‐RMG
Block           Theresa          2:14‐cv‐01991
Benavides       Josefina         2:14‐cv‐01998
Glaser          Karen            2:14‐cv‐02005
Pearson         Irene            2:14‐cv‐02030‐RMG
Key             Joanne           2:14‐cv‐02040‐RMG
Bennett         Gail             2:14‐cv‐02055‐RMG
Ackroyd         Carolyn          2:14‐cv‐02079
Brooks          Marcella         2:14‐cv‐02079
Henson          Lydia            2:14‐cv‐02079
Ingram          Levira           2:14‐cv‐02079
Jones           Eletta           2:14‐cv‐02079
Little          Christine        2:14‐cv‐02079
Polley          Norma            2:14‐cv‐02079
Turner          Perita           2:14‐cv‐02079
Warren          Kim              2:14‐cv‐02079
Westbrook       Sandra           2:14‐cv‐02079
Wilkinson       Jennifer         2:14‐cv‐02079
Buggage         Yvonne           2:14‐cv‐02090‐RMG
Roundtree       Margaret         2:14‐cv‐02108‐RMG
Schweitzer      Joyce            2:14‐cv‐02109‐RMG
Gottlieb        Joan             2:14‐cv‐02111
West            Kimberly         2:14‐cv‐02112‐RMG
Bennett         Glenda           2:14‐cv‐02113‐RMG
Francis         Linda            2:14‐cv‐02114‐RMG
Welch           Carolyn          2:14‐cv‐02116
Turley          Mildred          2:14‐cv‐02159‐RMG
House           Anita A.         2:14‐cv‐02169‐RMG
Howes           Elaine D.        2:14‐cv‐02170‐RMG
Beckner         Lucy M           2:14‐cv‐02172‐RMG
Humphrey        Doris A          2:14‐cv‐02173‐RMG
Boudreau        Elizabeth        2:14‐cv‐02174‐RMG
Dingle          Elizabeth S.     2:14‐cv‐02175‐RMG
Crupie          Barbara S.       2:14‐cv‐02176‐RMG
Mallory         Naomi            2:14‐cv‐02177‐RMG
Norris          Karen D.         2:14‐cv‐02178‐RMG
Ortega          Domitila         2:14‐cv‐02180‐RMG
Methvin         Loretta J        2:14‐cv‐02181‐RMG
Perez           Anita D.         2:14‐cv‐02182‐RMG

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    PLAINTIFF        PLAINTIFF                                             CIVIL CASE NO.
    LAST NAME       FIRST NAME

Maga            Lucille          2:14‐cv‐02190‐RMG
Cannon          Lucille          2:14‐cv‐02216‐RMG
Serrano         Maria            2:14‐cv‐02217‐RMG
Cain            Minnie           2:14‐cv‐02237‐RMG
Pruitt‐Smith    Etta             2:14‐cv‐02239‐RMG
Rone            Katherine        2:14‐cv‐02240‐RMG
Williams        Marilyn          2:14‐cv‐02259
Beckum          Patty            2:14‐cv‐02272
Davis           Marilyn          2:14‐cv‐02272
Fullylove       Rhoda            2:14‐cv‐02272
Granado         Christine        2:14‐cv‐02272
Gutierrez       Jesusa           2:14‐cv‐02272
Hernandez       Rosa             2:14‐cv‐02272
Johnson         Joann            2:14‐cv‐02272
Kay             Patricia         2:14‐cv‐02272
Kiester         Vicki            2:14‐cv‐02272
Kutach          Nona             2:14‐cv‐02272
Legg            Elsie            2:14‐cv‐02272
Mahoney         Eva              2:14‐cv‐02272
McCoy           Carolyn          2:14‐cv‐02272
Mendoza         Susanna          2:14‐cv‐02272
Moore           Pamela           2:14‐cv‐02272
Newman          Monica           2:14‐cv‐02272
Pierson         Lana             2:14‐cv‐02272
Richardson      Deloise          2:14‐cv‐02272




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Robertson      Deidra           2:14‐cv‐02272
Ryan           Amporn           2:14‐cv‐02272
Schulz         Myrtis           2:14‐cv‐02272
Sindrey        Janet            2:14‐cv‐02272
Sisney         Georgia          2:14‐cv‐02272
Starrett       Terry            2:14‐cv‐02272
Stewart        Vera             2:14‐cv‐02272
Thompson       Ida              2:14‐cv‐02272
Virden         Kelly            2:14‐cv‐02272
Ellisor        Mary             2:14‐cv‐02295‐RMG
Beasley        Brenda           2:14‐cv‐02319
Bermudez       Carmen           2:14‐cv‐02319
Blue           Joyce            2:14‐cv‐02319
Bockelmann     Patricia         2:14‐cv‐02319
Colello        Rosa             2:14‐cv‐02319
Hardman        Rechilda         2:14‐cv‐02319
Jennings       Janet            2:14‐cv‐02319
Kinsler        Gloria           2:14‐cv‐02319
Leonardo       Aura             2:14‐cv‐02319
Pegram         Gloria           2:14‐cv‐02319
Rodriguez      Patricia         2:14‐cv‐02319
Stroud         Sharon           2:14‐cv‐02319
Thompson       Dorothy          2:14‐cv‐02319
Townsend       Patricia         2:14‐cv‐02319
Wonderling     Verna            2:14‐cv‐02319
Standifer      Heather          2:14‐cv‐02338‐RMG
McDowell       Viveca           2:14‐cv‐02422
Austill        Dorothy          2:14‐cv‐02432‐RMG
Shelton        Rosie            2:14‐cv‐02433‐RMG
Alldredge      Linda L.         2:14‐cv‐02447‐RMG
Edwards        Linda M.         2:14‐cv‐02449
Fontenot       Rosie            2:14‐cv‐02451‐RMG
Hoffman        Joan B           2:14‐cv‐02452‐RMG
Doyle          Sandra M.        2:14‐cv‐02453‐RMG
Howard         Virginia A.      2:14‐cv‐02454
Johnston       Bonnie           2:14‐cv‐02455‐RMG
Lozowski       Millie           2:14‐cv‐02456‐RMG


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Leonard         Janie           2:14‐cv‐02457‐RMG
Meneley         Marilyn         2:14‐cv‐02459‐RMG
Ogletree        Jane            2:14‐cv‐02460‐RMG
Springer        Linda Jane      2:14‐cv‐02461‐RMG
Smith           Janelle         2:14‐cv‐02462‐RMG
Thornton        Rosie           2:14‐cv‐02465‐RMG
Shaw            ErnestineAnn    2:14‐cv‐02476‐RMG
Rawlings        Deborah         2:14‐cv‐02477‐RMG
Wortham         Bertha          2:14‐cv‐02478‐RMG
Wengert         Linda Faye      2:14‐cv‐02479‐RMG
Sherman         Bonette         2:14‐cv‐02480‐RMG
Keyne           Simone R.       2:14‐cv‐02481‐RMG
Fine            Lilly           2:14‐cv‐02482‐RMG
Bruner          Linda C.        2:14‐cv‐02485‐RMG
Cain            Jane            2:14‐cv‐02486‐RMG
Lasater         Sherry          2:14‐cv‐02488‐RMG
Taylor          Joanne          2:14‐cv‐02489‐RMG
Carr            Zenobia         2:14‐cv‐02490
Swaim           Sharon          2:14‐cv‐02492‐RMG
Colbert         Ora Lee         2:14‐cv‐02495‐RMG
Banks           Lottie          2:14‐cv‐02497‐RMG
Bradshaw        Betty           2:14‐cv‐02498‐RMG
Mohr            Kathy S.        2:14‐cv‐02499‐RMG
Curtis          Betty A.        2:14‐cv‐02500‐RMG
Hastings        Sharon K.       2:14‐cv‐02501‐RMG
Hollin          Vicki           2:14‐cv‐02504‐RMG
Giles           Gloria          2:14‐cv‐02505‐RMG
Vancas          Florence        2:14‐cv‐02506‐RMG
Johnson         Sybil           2:14‐cv‐02507‐RMG
Alexander       Denise          2:14‐cv‐02508‐RMG
McGinty         Betty L         2:14‐cv‐02509‐RMG
Bailey          Barbara         2:14‐cv‐02510‐RMG
Barksdale       Clara           2:14‐cv‐02514
Berger          Maureen         2:14‐cv‐02514
Calabro         Ida             2:14‐cv‐02514
Curtis          Bettye          2:14‐cv‐02514
Lenger          Judith          2:14‐cv‐02514
Mandola         Frances         2:14‐cv‐02514
Pearce          Lilliam         2:14‐cv‐02514
Robinson        Rose            2:14‐cv‐02514

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Woolfork          Alma             2:14‐cv‐02514
Persells          Mary             2:14‐cv‐02525
Nabors            JoAnn            2:14‐cv‐02526
Lankin            Dorothy          2:14‐cv‐02529‐RMG
Brothers          Judy R.          2:14‐cv‐02560
Holzapfel         Veronica L.      2:14‐cv‐02566
Battiste          Delores K.       2:14‐cv‐02590
Bridges           Juliaette P.     2:14‐cv‐02591
Lemaster          Martha           2:14‐cv‐02600‐RMG
Jones             Charlandra       2:14‐cv‐02601‐RMG
Smith             Christine        2:14‐cv‐02602‐RMG
Langdon           Regina           2:14‐cv‐02603‐RMG
Coleman           Dorothy          2:14‐cv‐02608‐RMG
Weston            Diana            2:14‐cv‐02609‐RMG
Ralph             Amelia           2:14‐cv‐02610
Slone             Judith Ann       2:14‐cv‐02627
Staggs            Joyce M.         2:14‐cv‐02628
Vaca              Rosa M.          2:14‐cv‐02629‐RMG
Taylor            Ophelia          2:14‐cv‐02631‐RMG
Holloway          Alice            2:14‐cv‐02642
Ledet             Barbara          2:14‐cv‐02643‐RMG
Kelly             Janet            2:14‐cv‐02647
Hill              Gloria           2:14‐cv‐02648
Jones             Mae              2:14‐cv‐02649
Prosser           Geneva           2:14‐cv‐02650
Wright            Edwina           2:14‐cv‐02651‐RMG
Jones             Agnes            2:14‐cv‐02652‐RMG
Chase             Beverly          2:14‐cv‐02653
Kennedy           Judith           2:14‐cv‐02657‐RMG
Hull              Patricia         2:14‐cv‐02681‐RMG
Krumrey           Eileen           2:14‐cv‐02682‐RMG
Allen             Polly            2:14‐cv‐02688
Jones             Janice           2:14‐cv‐02690
Austin            Sue              2:14‐cv‐02699
Dale              Carol            2:14‐cv‐02701‐RMG
Garza             Cynthia          2:14‐cv‐02702‐RMG
Larry‐Stapleton   Hallie           2:14‐cv‐02719‐RMG




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   PLAINTIFF        PLAINTIFF                                                   CIVIL CASE NO.
   LAST NAME       FIRST NAME

Lyle           Florence               2:14‐cv‐02720‐RMG
Shepherd       Glenda                 2:14‐cv‐02721‐RMG
Weir           Saran L.               2:14‐cv‐02722‐RMG
Wetta          Janet E. (Estate of)   2:14‐cv‐02723‐RMG
Brockelmeyer   Patricia               2:14‐cv‐02725‐RMG
Lair           Kathleen               2:14‐cv‐02727
Thornton       Virginia               2:14‐cv‐02753‐RMG
Bourgeois      Vera                   2:14‐cv‐02756‐RMG
Smith          Antonia C.             2:14‐cv‐02760‐RMG
Brinson        Velma Lee              2:14‐cv‐02763‐RMG
Flanery        Hildreth               2:14‐cv‐02764‐RMG
Robinson       Addie M.               2:14‐cv‐02768‐RMG
Clewis         Marian R.              2:14‐cv‐02769‐RMG
Olabi          Safaa                  2:14‐cv‐02776‐RMG
Black          Edith                  2:14‐cv‐02780
Boggs          Blondina               2:14‐cv‐02793
Chester        Roslyn                 2:14‐cv‐02794
Goldberg       Tanya                  2:14‐cv‐02795
Harris         Carol T.               2:14‐cv‐02796
Hart           Judy E.                2:14‐cv‐02797
Johnston       Patricia A.            2:14‐cv‐02799
Journigan      Bettye                 2:14‐cv‐02802
Kelly          Kay F.                 2:14‐cv‐02803
King           Terry L.               2:14‐cv‐02804
Lesko          Marsha                 2:14‐cv‐02805
Seals          Lynette                2:14‐cv‐02809
Vellone        So Y                   2:14‐cv‐02811
West           Joyce                  2:14‐cv‐02812
Barker         Elizabeth              2:14‐cv‐02816
Metheney       Judy                   2:14‐cv‐02825‐RMG
Gibson         Lovie N.               2:14‐cv‐02826
White          Rebecca                2:14‐cv‐02831‐RMG
Setler         Gwendolyn              2:14‐cv‐02837‐RMG
Strazzante     Eleanor                2:14‐cv‐02838‐RMG
Baker          Francene               2:14‐cv‐02840
Paris          MicheleL.              2:14‐cv‐02870‐RMG
Scherf         Ellen                  2:14‐cv‐02871‐RMG
Bowman         Dorothy                2:14‐cv‐02877
Overdier       Penny                  2:14‐cv‐02886‐RMG
Williams       Beverlee               2:14‐cv‐02887


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    PLAINTIFF       PLAINTIFF                                             CIVIL CASE NO.
    LAST NAME      FIRST NAME

Mowry           Tammy           2:14‐cv‐02888
Frankie         Thomas          2:14‐cv‐02889‐RMG
Babb            Debby A.        2:14‐cv‐02901
Byas            Grace R.        2:14‐cv‐02903
Graham          Barbara A.      2:14‐cv‐02904
Griffin         Rosie J.        2:14‐cv‐02905
Haley           Gladys V.       2:14‐cv‐02912
Hall            Barbara L.      2:14‐cv‐02913
Blevins         Connie S.       2:14‐cv‐02916
Harvey          Rhonda K.       2:14‐cv‐02917
Hatfield        GoldieLawonne   2:14‐cv‐02919
Densmore        Loretta         2:14‐cv‐02921
Belew           Mary            2:14‐cv‐02924‐RMG
Carnes          Nedra           2:14‐cv‐02926‐RMG
Clark           Doris           2:14‐cv‐02929‐RMG
Coffeen         Jackie          2:14‐cv‐02930‐RMG
Crudup          Betty           2:14‐cv‐02932‐RMG
Deitman         Anna            2:14‐cv‐02934‐RMG
Ebner           Judy            2:14‐cv‐02937‐RMG
Evans           Rethell         2:14‐cv‐02938‐RMG
Sanford         Linda           2:14‐cv‐02943‐RMG
Cherry          Jerlean         2:14‐cv‐02946‐RMG
Adams           Donna F.        2:14‐cv‐02954
Olsson          Alberta         2:14‐cv‐02963‐RMG
Nichols         Claudette       2:14‐cv‐02964‐RMG
Clark           Ruby G.         2:14‐cv‐02967
Gordon          Shirley         2:14‐cv‐02968
Bell            Donna           2:14‐cv‐02974
Haskins         Darlene R.      2:14‐cv‐02976
Haymes          Anette          2:14‐cv‐02980
Hill            Netella J.      2:14‐cv‐02981
Hollar          Jeanette        2:14‐cv‐02982
Jay             Charlene V.     2:14‐cv‐02983
Kilbreth        Donna S.        2:14‐cv‐02986
Kirchoff        Sherry L.       2:14‐cv‐02987
Livingston      Linda           2:14‐cv‐02988
Marshall        Edna            2:14‐cv‐02989
Jones           Brenda          2:14‐cv‐02998‐RMG
Hill            Rebecca         2:14‐cv‐02999‐RMG
Brown           Ruth            2:14‐cv‐03000‐RMG

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   PLAINTIFF       PLAINTIFF                                             CIVIL CASE NO.
   LAST NAME      FIRST NAME

Robinson       Debbie          2:14‐cv‐03002‐RMG
Koone          Mary E.         2:14‐cv‐03011
Schultz        Joyce           2:14‐cv‐03028
Grantham       Joyce           2:14‐cv‐03030
Daugherty      Donna           2:14‐cv‐03033‐RMG
Scott          Betty           2:14‐cv‐03034
Gosner         Susan           2:14‐cv‐03036‐RMG
Gray           Carmeleta       2:14‐cv‐03037‐RMG
Hammonds       Joan            2:14‐cv‐03040‐RMG
Hando          Dona            2:14‐cv‐03041‐RMG
Hartsfield     Betty           2:14‐cv‐03042‐RMG
Heredia        Olga            2:14‐cv‐03043‐RMG
Hickson        Marlene         2:14‐cv‐03047‐RMG
Hollinger      Shauna          2:14‐cv‐03048‐RMG
Kampelman      Dixie           2:14‐cv‐03050‐RMG
Thomas         Martha          2:14‐cv‐03057‐RMG
Marcewicz      Nancy           2:14‐cv‐03072
McFarland      Marilyn         2:14‐cv‐03073
McGuirl        Yolanda         2:14‐cv‐03074
McMahan        Debra           2:14‐cv‐03075
Palmer         Arenda          2:14‐cv‐03076
Pellerito      Judith          2:14‐cv‐03077
Pind           Sherrie         2:14‐cv‐03078
Pratt          Victoria        2:14‐cv‐03079
Quansah        Doris           2:14‐cv‐03080
Reppert        Tina            2:14‐cv‐03081
Robinett       Twila           2:14‐cv‐03083
Rogers         Pamela          2:14‐cv‐03084
Rosario        Yvette          2:14‐cv‐03085
Passmore       Cynthia         2:14‐cv‐03086
Moseley        Victory         2:14‐cv‐03087‐RMG
Frazee         Carol           2:14‐cv‐03088‐RMG
Church         Rita            2:14‐cv‐03090
Compton        Betty           2:14‐cv‐03093
Jones          Gloria          2:14‐cv‐03096
Frank          Ruddy           2:14‐cv‐03098




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    PLAINTIFF       PLAINTIFF                                             CIVIL CASE NO.
    LAST NAME      FIRST NAME

English         Brenda          2:14‐cv‐03100
Bledsoe         Gaynell         2:14‐cv‐03102
Fisher          Dora            2:14‐cv‐03103
Robinson        Susan           2:14‐cv‐03105
Spencer         Nancy           2:14‐cv‐03106
Green           Beatrice        2:14‐cv‐03107
Wiseman         Kimberly        2:14‐cv‐03108
Clark           Barbara         2:14‐cv‐03110
Forbes          Michelle        2:14‐cv‐03112
Bendingfield    Ruth            2:14‐cv‐03115
Stallings       Joan            2:14‐cv‐03116
Cleek           Linda           2:14‐cv‐03121
Burdine         Sharon          2:14‐cv‐03122
Hoffpauir       Zulah           2:14‐cv‐03127
Wempe           Betty           2:14‐cv‐03130
Megason         Patricia        2:14‐cv‐03131‐RMG
Robinson        Albertine       2:14‐cv‐03132
Baird           Patsy           2:14‐cv‐03137
Sproles         Diane           2:14‐cv‐03139‐RMG
Sanders         Peggy           2:14‐cv‐03140‐RMG
Roy             Jeannine        2:14‐cv‐03142‐RMG
Nabor           Tamara          2:14‐cv‐03143‐RMG
Palella         Stella          2:14‐cv‐03145‐RMG
McGowens        Doreather       2:14‐cv‐03146‐RMG
PERICH          JUDITH          2:14‐cv‐03149‐RMG
Boone           Maureen         2:14‐cv‐03154
Ashley          Heather         2:14‐cv‐03166




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   PLAINTIFF        PLAINTIFF                                             CIVIL CASE NO.
   LAST NAME       FIRST NAME

Austin         Sheila           2:14‐cv‐03169
Russell        Sandra           2:14‐cv‐03182
Scott          Darlene          2:14‐cv‐03183
Smith          Sheryl           2:14‐cv‐03184
Steele         Suzanne          2:14‐cv‐03185
Stewart        Rhonda           2:14‐cv‐03186
Swobody        Cathey           2:14‐cv‐03187
Thomas         Denise           2:14‐cv‐03188
Turner         Darlene          2:14‐cv‐03189
Watson         Virgie           2:14‐cv‐03190
Zohlman        Lisa             2:14‐cv‐03192
Smith          Diane            2:14‐cv‐03193
Franco         Dolores          2:14‐cv‐03196
Sturges        Ardelia          2:14‐cv‐03197
Wesley         Rose             2:14‐cv‐03199
Addison        Regina           2:14‐cv‐03200
Carter         Dona             2:14‐cv‐03201
Pasha          Edith            2:14‐cv‐03202
Siderio        Lucille          2:14‐cv‐03204
Ingram         Brenda           2:14‐cv‐03205
Kasik          Christine        2:14‐cv‐03206‐RMG
Gross          Elsie            2:14‐cv‐03216‐RMG
Robinson       Thelma           2:14‐cv‐03219‐RMG
Jennewein      Peggy            2:14‐cv‐03243
Williams       Pamela           2:14‐cv‐03249
Oliver         Ellen            2:14‐cv‐03253‐RMG
Abson          Amanda           2:14‐cv‐03255
Advincula      Pura             2:14‐cv‐03255
Albright       Evelyn           2:14‐cv‐03255
Arnold         Ruthie           2:14‐cv‐03255




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   PLAINTIFF       PLAINTIFF                                             CIVIL CASE NO.
   LAST NAME      FIRST NAME

Baldwin        Mary Lee        2:14‐cv‐03255
Biszantz       Kathy           2:14‐cv‐03255
Brooks         Frances         2:14‐cv‐03255
Bryant         Robbie          2:14‐cv‐03255
Burkham        Yolanda         2:14‐cv‐03255
Burr           Dorothy         2:14‐cv‐03255
Carr           Jeanette        2:14‐cv‐03255
Charles        Ute             2:14‐cv‐03255
Cook           Linda           2:14‐cv‐03255
Coram          Rachel          2:14‐cv‐03255
Cousins        Bonnie          2:14‐cv‐03255
Danielly       Joyce           2:14‐cv‐03255
Davis          Gloria          2:14‐cv‐03255
Don            Patricia        2:14‐cv‐03255
Duvall         Linda           2:14‐cv‐03255
Fetty          Rhonda          2:14‐cv‐03255
Frey           Barbara         2:14‐cv‐03255
Gaddy          Phyllid         2:14‐cv‐03255
Gamage         Donna           2:14‐cv‐03255
Gibbs          Kim             2:14‐cv‐03255
Giddens        Eleanor         2:14‐cv‐03255
Gordon         Kathleen        2:14‐cv‐03255
Green          Faye            2:14‐cv‐03255
Green          Rowena          2:14‐cv‐03255




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    PLAINTIFF            PLAINTIFF                                             CIVIL CASE NO.
    LAST NAME           FIRST NAME

Hall                 Tera            2:14‐cv‐03255
Hillyard             Angela          2:14‐cv‐03255
Holden               Karen           2:14‐cv‐03255
Hutchinson           Audrey          2:14‐cv‐03255
Hutnyan              Gayle           2:14‐cv‐03255
Jones                Brenda          2:14‐cv‐03255
Jordan               Carol           2:14‐cv‐03255
Ketcham              Beatriz         2:14‐cv‐03255
Lang                 Gloria          2:14‐cv‐03255
Leslie               Terri           2:14‐cv‐03255
Lewis                Pamela          2:14‐cv‐03255
Love‐Seatts          Alvella         2:14‐cv‐03255
McNair               Patricia        2:14‐cv‐03255
Moiyallah            Dedeh           2:14‐cv‐03255
Morrow               Beverly         2:14‐cv‐03255
Mullins              Roberta         2:14‐cv‐03255
Navas                Diane           2:14‐cv‐03255
Nichols              Belinda         2:14‐cv‐03255
Pollard              Olivia          2:14‐cv‐03255
Rogers               Frances         2:14‐cv‐03255
Romersa              Susan           2:14‐cv‐03255
Royal                Lurethia        2:14‐cv‐03255
Sam                  Yvonne          2:14‐cv‐03255
Schuld               Patricia        2:14‐cv‐03255
ShiningWoman         Marsha          2:14‐cv‐03255
Steventon            Esther          2:14‐cv‐03255
Thomas               Gwendolyn       2:14‐cv‐03255
Trimble              Ludie           2:14‐cv‐03255
Ward                 Margaret        2:14‐cv‐03255
Weathers             Jacqueline      2:14‐cv‐03255
Weaver               Mary            2:14‐cv‐03255
Weinreich            Isabel          2:14‐cv‐03255
Williamson           Cynthia         2:14‐cv‐03255
Winters              Julita          2:14‐cv‐03255
Schroeder            Cynthia         2:14‐cv‐03255‐RMG
Duffy A.K.A. Gomes   Maria           2:14‐cv‐03257




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   PLAINTIFF          PLAINTIFF                                             CIVIL CASE NO.
   LAST NAME         FIRST NAME

Ebarb            Susan            2:14‐cv‐03260
Bracey‐Showers   Pearlie          2:14‐cv‐03263‐RMG
Carver           Carolyn          2:14‐cv‐03264‐RMG
Chikeka          Chinyere         2:14‐cv‐03265‐RMG
Doyle            Bertina          2:14‐cv‐03266‐RMG
Hawk             Mae              2:14‐cv‐03267‐RMG
Jones            Almeta           2:14‐cv‐03274‐RMG
Khouli           Shafea           2:14‐cv‐03275‐RMG
Larocque         Susan            2:14‐cv‐03277‐RMG
Cutts            Jacqueline D.    2:14‐cv‐03278
Brown            Myra D           2:14‐cv‐03279
Conley           Connie           2:14‐cv‐03285
Jenkins          LaTonya J.       2:14‐cv‐03288
Jones            Beverly L.       2:14‐cv‐03290
McCormack        Brenda Kay       2:14‐cv‐03292
Walker           Sharon           2:14‐cv‐03294
Washington       Magnolia         2:14‐cv‐03295
Santana          Tahira           2:14‐cv‐03296
Steinmeyer       Bonnetta         2:14‐cv‐03297
DuPree           Ponchita         2:14‐cv‐03298
Moses            Myrtle           2:14‐cv‐03300
Welker           Karen            2:14‐cv‐03301
Williams         Pamela           2:14‐cv‐03302
Wiliamson        Betty            2:14‐cv‐03303
Shaker           Cecilia          2:14‐cv‐03313
Moreland         Katherine        2:14‐cv‐03314
Moody            Fredia           2:14‐cv‐03320
Mckenzie         Shirley          2:14‐cv‐03322
Noe              Candy            2:14‐cv‐03323
Edwards          Thelma           2:14‐cv‐03324
Troxell          Janet            2:14‐cv‐03327
Johnvin          Lois             2:14‐cv‐03332‐RMG
Clark            Mary             2:14‐cv‐03336
Dinsmore         Denise           2:14‐cv‐03354
Alcala           Norma            2:14‐cv‐03355
Allen            Ruth             2:14‐cv‐03356
Appiah           Lucy             2:14‐cv‐03357
Angel            Frances          2:14‐cv‐03359



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    PLAINTIFF        PLAINTIFF                                             CIVIL CASE NO.
    LAST NAME       FIRST NAME

Shelton         Paulette         2:14‐cv‐03360
McGee           Brenda           2:14‐cv‐03361
Meyers          Maria            2:14‐cv‐03369
Beaupre         Ann              2:14‐cv‐03371
Baltazar        Rosetta          2:14‐cv‐03372
Dalton          Myrtle           2:14‐cv‐03377
Johnson         Mary L.          2:14‐cv‐03379‐RMG
Jones           Carolyn          2:14‐cv‐03380
Johnson         Alice            2:14‐cv‐03381
Danzer          Shelley          2:14‐cv‐03408‐RMG
Bradley         Linda            2:14‐cv‐03409
Gelet           Sandra           2:14‐cv‐03410
Hanson          Frances          2:14‐cv‐03411
Jackson         Laverne          2:14‐cv‐03414
Johnson         Susan            2:14‐cv‐03415
Lozada          Theresa          2:14‐cv‐03416
Wright          Margerite        2:14‐cv‐03438
Kiser           Lynn             2:14‐cv‐03448
Hunt            Angela           2:14‐cv‐03455
Dunnagan        Peggy            2:14‐cv‐03461‐RMG
Epperson        Judy             2:14‐cv‐03462‐RMG
Goins           Penny            2:14‐cv‐03463‐RMG
Hebbard         Judy             2:14‐cv‐03469‐RMG
Orellana        Silvia           2:14‐cv‐03483‐RMG
Smith           Betty            2:14‐cv‐03490‐RMG
Winston         Cheryl           2:14‐cv‐03492‐RMG
Williams        Annie            2:14‐cv‐03493‐RMG
Shinhoster      Mary             2:14‐cv‐03498‐RMG
Ewing           Louise           2:14‐cv‐03523‐RMG
Gardner         JoAnn            2:14‐cv‐03524‐RMG
Dixon           Betty            2:14‐cv‐03526‐RMG
Bell            Deborah          2:14‐cv‐03529
De Roy Van      Lotte            2:14‐cv‐03530‐RMG
Zuydewijn
Moss            Linda            2:14‐cv‐03537‐RMG
Loretta         Ogletree         2:14‐cv‐03538‐RMG
Murphy          Deborah          2:14‐cv‐03541‐RMG
Carolyn         Phillips         2:14‐cv‐03549‐RMG
Bryant          Carolyn          2:14‐cv‐03557
Culver          Delores          2:14‐cv‐03558

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   PLAINTIFF          PLAINTIFF                                             CIVIL CASE NO.
   LAST NAME         FIRST NAME

Anderson         Marilyn          2:14‐CV‐03580
Sawyer           Esther           2:14‐cv‐03584‐RMG
Massey           Sandra           2:14‐cv‐03585‐RMG
Mudrinich        Benita           2:14‐cv‐03587‐RMG
Marcellino       Joan             2:14‐cv‐03588‐RMG
Henderson        Melody           2:14‐cv‐03591‐RMG
Judith           Root             2:14‐cv‐03599‐RMG
McBurrows        Carrie           2:14‐cv‐03602‐RMG
McLawhorn        Margie           2:14‐cv‐03604‐RMG
Barbara          Salsgiver        2:14‐cv‐03608‐RMG
Baird            Veroma           2:14‐cv‐03611
Winters          Janice           2:14‐cv‐03619‐RMG
Black            Linda K.         2:14‐cv‐03621
Lipsey           Annie            2:14‐cv‐03622‐RMG
Peale            Renee            2:14‐cv‐03623‐RMG
Patricia         Varnado          2:14‐cv‐03641‐RMG
Cynthia          Stampley         2:14‐cv‐03642‐RMG
Barbara          Wade             2:14‐cv‐03645‐RMG
Thomas           Clara            2:14‐cv‐03650‐RMG
McDonald         Laura            2:14‐cv‐03657‐RMG
Talley‐Lesko     Palma J.         2:14‐cv‐03663‐RMG
Doyle            Patricia         2:14‐cv‐03665
Ramey            Deborah          2:14‐cv‐03666‐RMG
George           Fiona            2:14‐cv‐03669‐RMG
Kelly            Schlenker        2:14‐cv‐03682‐RMG
Gloria           Ponce            2:14‐cv‐03696‐RMG
Carmen           Santiago         2:14‐cv‐03697‐RMG
McCormick        Dawn             2:14‐cv‐03698‐RMG
Barbara          Walker           2:14‐cv‐03700‐RMG
Winters          Delores          2:14‐cv‐03705‐RMG
Morris           Carol            2:14‐cv‐03723‐RMG
Moon             Kathy            2:14‐cv‐03735‐RMG
Garritty         Mary             2:14‐cv‐03738‐RMG
Neuenschwander   Karen            2:14‐cv‐03742‐RMG
Shaw             Joy              2:14‐cv‐03753‐RMG
Perry            Aleta            2:14‐cv‐03765‐RMG




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    PLAINTIFF        PLAINTIFF                                                    CIVIL CASE NO.
    LAST NAME       FIRST NAME

Bates           Connie                  2:14‐cv‐03767‐RMG
Bissonnette     Crystal                 2:14‐cv‐03782
Collins         Gwen                    2:14‐cv‐03789
Alexander       Myrtle C. (Estate of)   2:14‐cv‐03807
Washington      Louella                 2:14‐cv‐03812‐RMG
Kratz           Karen                   2:14‐cv‐03816
Chambliss       Ruby F.                 2:14‐cv‐03819‐RMG
Bing            Jennie                  2:14‐cv‐03843‐RMG
Twedt           Arlette                 2:14‐cv‐03855
O'Brien         Gail                    2:14‐cv‐03863‐RMG
Allen           Alana                   2:14‐cv‐03872
Cook            Bessie                  2:14‐cv‐03879
Ware            Patricia K.             2:14‐cv‐03880
Brison          Eva                     2:14‐cv‐03895
BOONE           MARGIE                  2:14‐cv‐03897
Hernandez       Caridad                 2:14‐cv‐03898
Walker          Theresa                 2:14‐cv‐03908
Perry           Josephine M             2:14‐cv‐03918‐RMG
Toler           Juanita                 2:14‐cv‐03938
Harvey          Delois                  2:14‐cv‐03939
Bowden          Betty                   2:14‐cv‐03940
Briscoe         Lana P.                 2:14‐cv‐03950
Damon           Bonnie                  2:14‐cv‐03951
Dempsey         Sandra                  2:14‐cv‐03952
Gorbett         Vicki A.                2:14‐cv‐03953
Hartsfield      Judy                    2:14‐cv‐03954
Henderson       Linda S.                2:14‐cv‐03955
Himelfarb       Susan                   2:14‐cv‐03956
Jenkins         Brenda                  2:14‐cv‐03957
Kennedy         Carole A.               2:14‐cv‐03958
Lower           Lula                    2:14‐cv‐03959
James           Pennelifa               2:14‐cv‐03961
Slider          Jody                    2:14‐cv‐03962
Ross            Jennifer                2:14‐cv‐03963
Dalton          Deborah Ann             2:14‐cv‐03964




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   PLAINTIFF        PLAINTIFF                                             CIVIL CASE NO.
   LAST NAME       FIRST NAME

Brown          Susan            2:14‐cv‐03965
DeSomma        Barbara          2:14‐cv‐03968
Birk‐Alcorn    Cynthia          2:14‐cv‐03973
Burrell        Mary             2:14‐cv‐03973
Campbell       Sara             2:14‐cv‐03973
Cicero         Patty            2:14‐cv‐03973
Cox            Barbara          2:14‐cv‐03973
Curry          Rebecca          2:14‐cv‐03973
Davidson       Brenda           2:14‐cv‐03973
DiMasi         Tammy            2:14‐cv‐03973
Drake          Dinah            2:14‐cv‐03973
Felts          Lou Ellen        2:14‐cv‐03973
Glover         Alice            2:14‐cv‐03973
Gonzales       Lawanna          2:14‐cv‐03973
Hunt           Lola             2:14‐cv‐03973
Jolly          Hazel            2:14‐cv‐03973
Jones          Mary             2:14‐cv‐03973
Kennedy        Regina           2:14‐cv‐03973
Klahr          Linda            2:14‐cv‐03973
Marshall       Nancy C.         2:14‐cv‐03973
McGill         Joyce D.         2:14‐cv‐03973
McGovern       Celmira H.       2:14‐cv‐03973
Mefkief        Helen A.         2:14‐cv‐03973
Merriweather   Marylon F.       2:14‐cv‐03973
Moore          Loretta H.       2:14‐cv‐03973
Moore          Easter E.        2:14‐cv‐03973
North          Pauline M.       2:14‐cv‐03973
Phelps         LuAnn            2:14‐cv‐03973
Robinson       Susan J.         2:14‐cv‐03973
Sanders        Mary E.          2:14‐cv‐03973
Sexton         Martha M.        2:14‐cv‐03973
Sipple         Sherree M.       2:14‐cv‐03973
Sterling       Carol A.         2:14‐cv‐03973
Stevens        Linda M.         2:14‐cv‐03973




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   PLAINTIFF        PLAINTIFF                                             CIVIL CASE NO.
   LAST NAME       FIRST NAME

Uriarte        Tina R.          2:14‐cv‐03973
Vawter         Janis M.         2:14‐cv‐03973
Weese          Linda C.         2:14‐cv‐03973
Wells          Carolyn J.       2:14‐cv‐03973
Wilson         Sevella M.       2:14‐cv‐03973
Wright         Patra D.         2:14‐cv‐03973
Burton         Oberia           2:14‐cv‐03983
Agee           Flora            2:14‐cv‐03995‐RMG
Archibold      Dorothy          2:14‐cv‐03995‐RMG
Ballet         Patrice          2:14‐cv‐03995‐RMG
Bradley        Dorothy          2:14‐cv‐03995‐RMG
Carey          Nekitha          2:14‐cv‐03995‐RMG
Cole           Teresa           2:14‐cv‐03995‐RMG
Davis          Betty            2:14‐cv‐03995‐RMG
Davis          Tracy            2:14‐cv‐03995‐RMG
Everett        Angela           2:14‐cv‐03995‐RMG
Finkley        Erma             2:14‐cv‐03995‐RMG
Garabedian     Maggy            2:14‐cv‐03995‐RMG
Gregory        Phyllis          2:14‐cv‐03995‐RMG
Hartfield      Teresa           2:14‐cv‐03995‐RMG
Holder         Betty            2:14‐cv‐03995‐RMG
Johnson        Betty            2:14‐cv‐03995‐RMG
Lee            Lillian          2:14‐cv‐03995‐RMG
Marshall       Rose             2:14‐cv‐03995‐RMG
Mayhew         Mary             2:14‐cv‐03995‐RMG
Morgan         Lou              2:14‐cv‐03995‐RMG
Robinson       Doris            2:14‐cv‐03995‐RMG
Rowland        Doris            2:14‐cv‐03995‐RMG
Rowland        Doris            2:14‐cv‐03995‐RMG
Smiley         Linda            2:14‐cv‐03995‐RMG




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    PLAINTIFF          PLAINTIFF                                             CIVIL CASE NO.
    LAST NAME         FIRST NAME

Webb              Sheila           2:14‐cv‐03995‐RMG
Wilson            Susan            2:14‐cv‐03995‐RMG
Umstattd          Deborah          2:14‐cv‐03997
Thompson          Lorene           2:14‐cv‐03998
Mack              Bobby            2:14‐cv‐03999
Canales           Evelyn           2:14‐cv‐04000
Marshall          Theresa          2:14‐cv‐04011
Sterger           Sharon J.        2:14‐cv‐04023‐RMG
Cerniglia         Barbara          2:14‐cv‐04029
Sharp             Cecelia          2:14‐cv‐04030
Taplin            Bernice          2:14‐cv‐04031
Schoen            Brenda           2:14‐cv‐04040
Black             Hattie           2:14‐cv‐04041
Lopez             Rosemary         2:14‐cv‐04053
Ross              Cheryl           2:14‐cv‐04057
O'bryant          Shirley          2:14‐cv‐04059
Dupard            Rose             2:14‐cv‐04065‐RMG
Shepherd          Joyce            2:14‐cv‐04072‐RMG
McConahay         LaDonna          2:14‐cv‐04073‐RMG
Ainsworth         Vicky            2:14‐cv‐04099‐RMG
Abbott            Betty            2:14‐cv‐04102
Applebee          Eugenia          2:14‐cv‐04103
Baboolal          Ann              2:14‐cv‐04104
Backen            Melissa          2:14‐cv‐04105
Bailey            Rilma            2:14‐cv‐04107
Batt              Ellen            2:14‐cv‐04109
Belmar            Jeaneen          2:14‐cv‐04110
Delmore‐Lockett   Ora              2:14‐cv‐04111
Bennett           Patricia         2:14‐cv‐04113
Blevins           Lillie           2:14‐cv‐04116
Bolton            Syndonia         2:14‐cv‐04117
Bryant            Lois             2:14‐cv‐04119
Burkhart          Teresa           2:14‐cv‐04120
Morisset          Jean             2:14‐cv‐04132‐RMG
Holley            Patricia         2:14‐cv‐04133
Robbins           Georgia          2:14‐cv‐04164




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   PLAINTIFF       PLAINTIFF                                             CIVIL CASE NO.
   LAST NAME      FIRST NAME

Zimmerman      Carolyn         2:14‐cv‐04165
Gray           Renate          2:14‐cv‐04166
Lung           Nancy           2:14‐cv‐04167
Medeiros       Denise          2:14‐cv‐04168
Von Minden     Bonnie          2:14‐cv‐04174
Boutwell       Verna           2:14‐cv‐04187
Jordan         Dianna          2:14‐cv‐04188
Brown          Diane           2:14‐cv‐04205‐RMG
Hill           Deborah         2:14‐cv‐04213
Baldwin        Jeannine        2:14‐cv‐04223
Byrd           Ella M.         2:14‐cv‐04226‐RMG
HERNANDEZ      MARYLOU         2:14‐cv‐04228
Conley         Mary            2:14‐cv‐04229
Wilks          Linda           2:14‐cv‐04230
Partain        Shari           2:14‐cv‐04254
Hearon         Dorothy         2:14‐cv‐04255
Burlingame     Linda           2:14‐cv‐04256
Easley         Marguerite      2:14‐cv‐04257
Vendola        Lorri           2:14‐cv‐04258
Carlile        Minh M.         2:14‐cv‐04259
Edwards        Debra           2:14‐cv‐04300
Hendricks      Lucille         2:14‐cv‐04301
Jones          Evelyn          2:14‐cv‐04303
Womack         Yolanda         2:14‐cv‐04304
Netzley        Sharon          2:14‐cv‐04306‐RMG
HOLT           TERESA          2:14‐cv‐04307‐RMG
Taylor         Glenda          2:14‐cv‐04308
Keathley       Gloria          2:14‐cv‐04309‐RMG
Garrett        Mildred         2:14‐cv‐04315
Hixson         Judythe         2:14‐cv‐04328‐RMG
Belardo        Mildred         2:14‐cv‐04329
Wolf           Elaine          2:14‐cv‐04333‐RMG
Eliasen        Donna L.        2:14‐cv‐04346
Freeman        Jan             2:14‐CV‐04349
Reid           Lisa M.         2:14‐cv‐04350‐RMG
O'Neal         Laurene         2:14‐cv‐04351‐RMG
Leslie         Marge           2:14‐cv‐04353‐RMG
Miller         Marcia F.       2:14‐cv‐04354‐RMG
Snyder         Barbara         2:14‐cv‐04374‐RMG
Davidson       Patricia        2:14‐cv‐04378

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    PLAINTIFF        PLAINTIFF                                             CIVIL CASE NO.
    LAST NAME       FIRST NAME

Hiester         Judith           2:14‐cv‐04382
Raper           Ruth             2:14‐cv‐04398
Patterson       Irene            2:14‐cv‐04409‐RMG
Schwartz        Linda Kay        2:14‐cv‐04414‐rmg
Brewer          Mary             2:14‐cv‐04417
McGaugh         Linda            2:14‐cv‐04418‐RMG
Barnes          JoAnn W.         2:14‐cv‐04444‐RMG
Saunders        Wanda S.         2:14‐cv‐04447‐RMG
Miller          Barbara          2:14‐cv‐04451‐RMG
Joyner          Kathleen         2:14‐cv‐04456
Sexton          Carrol           2:14‐cv‐04467‐RMG
Watts           Annie            2:14‐cv‐04468
Royal           Delores M.       2:14‐cv‐04475‐RMG
Trachtenberg    Carol A.         2:14‐cv‐04476‐RMG
Vasko           Mary             2:14‐cv‐04480
Lewis           Marcia           2:14‐cv‐04530
Enemali         Janet            2:14‐cv‐04545
Phillips        Christine        2:14‐cv‐04549
Guarino         Angela           2:14‐cv‐04550
Metzger         Betty            2:14‐cv‐04551
Walker          Carolyn A.       2:14‐cv‐04569‐RMG
                (Estateof)
Stewart         Elizabeth E.     2:14‐cv‐04574
Hebert          Betty            2:14‐cv‐04590
Bonsal          Audrey           2:14‐cv‐04680‐RMG
Cooper          Regina           2:14‐cv‐04681‐RMG
Harrington      Sandra           2:14‐cv‐04682‐RMG
Blair           Antoinette       2:14‐cv‐04692‐RMG
Pressley        Elizabeth        2:14‐cv‐04693‐RMG
Jones           Credell          2:14‐cv‐04698‐RMG
Johnson         Carolyn V.       2:14‐cv‐04700‐RMG
Bentley         Mary             2:14‐cv‐04701‐RMG
McKinney        Ana M.           2:14‐cv‐04702‐RMG
Clay            Betty            2:14‐cv‐04704‐RMG
Offutt          Brenda           2:14‐cv‐04715
Johannes        Paula            2:14‐cv‐04729‐RMG
Dailey          Virginia         2:14‐cv‐04735‐RMG
Brager          Roberta          2:14‐cv‐04741
Wolfe           Eloise           2:14‐cv‐04743
Halbert         Della            2:14‐cv‐04749


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   PLAINTIFF        PLAINTIFF                                            CIVIL CASE NO.
   LAST NAME       FIRST NAME

Moberley       Marsha           2:14‐cv‐04751‐RMG
Biswanger      Janet            2:14‐cv‐04778
Heald          Susan I.         2:14‐cv‐04779
Walker         Pamela           2:14‐cv‐04780
Quaschnick     Gail             2:14‐cv‐04781
Mower          Bonnie           2:14‐cv‐04784
Round          Sherrell         2:14‐cv‐04792‐RMG
Tarrasky       Robin            2:14‐cv‐04820‐RMG
Robinson       Shirley A.       2:14‐cv‐04822‐RMG
Robinson       Beverly J.       2:14‐cv‐04823‐RMG
Morrison       Diane            2:14‐cv‐04824‐RMG
Golden         Bernice          2:14‐cv‐04825
Lombardino     Darline          2:14‐cv‐04841‐RMG
Ortgiesen      Carol J.         2:14‐cv‐04842‐RMG
Roberts        Sharon           2:14‐cv‐04843
Taylor         Sharon           2:14‐cv‐04844‐RMG
Paletta        Chrie            2:14‐CV‐04846‐RMG
Brown          Rita             2:14‐cv‐04847‐RMG
Rosenstein     Karen B.         2:14‐cv‐04868‐RMG
Camp           Sheila           2:14‐cv‐04871‐RMG
Vickie         Smith            2:14‐cv‐04872‐RMG
Joeann         Zuefeldt         2:14‐cv‐04873‐RMG
CURTIS         DONITA           2:14‐cv‐04875‐RMG
Ragland        Beverly          2:14‐CV‐04876‐RMG
Medley         Adelina          2:14‐cv‐04877‐RMG
Hooks          Judy             2:14‐cv‐04878‐RMG
Pavelka        Tamera           2:14‐CV‐04879‐RMG
Black          Tanya            2:14‐cv‐04885
Williams       Orelia           2:14‐cv‐04888‐RMG
Morrow         Patricia         2:14‐cv‐04891‐RMG
Sanders        Annie            2:14‐cv‐04892‐RMG
Smallwood      Virginia         2:14‐cv‐04894‐RMG
Schottel       Ruth E.          2:14‐cv‐04899‐RMG
Pennell        Mary             2:14‐cv‐04900
Toadvine       Janet            2:14‐cv‐04907
Owen           Denise           2:14‐cv‐04909‐RMG




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    PLAINTIFF        PLAINTIFF                                                 CIVIL CASE NO.
    LAST NAME       FIRST NAME

Holly           Terry                2:14‐cv‐04912‐RMG
Moses           Marlene              2:14‐cv‐04913‐RMG
Koscher         Jacqueline           2:14‐cv‐04915
Morrison        Marsha               2:14‐cv‐04918
Limeberry       Barbara              2:14‐cv‐04925‐RMG
Mccartney       Arlene               2:14‐cv‐04926‐RMG
Sims            Gilda                2:15‐cv‐00012‐RMG
Sweeney         Nancy                2:15‐cv‐00013‐RMG
Santiago        Irma                 2:15‐cv‐00014‐RMG
Brank           Flossie              2:15‐cv‐00026
Carr            Carol                2:15‐cv‐00027‐RMG
Cates           Teresa (Estate of)   2:15‐cv‐00028‐RMG
Goldfarb        Rachel               2:15‐cv‐00034
Fayssoux        Kathy                2:15‐cv‐00035
D'Agui          Adelaide             2:15‐cv‐00036
Cotter          Donna                2:15‐cv‐00037
Wilson          Chapok               2:15‐cv‐00038
Messer          Hazel                2:15‐cv‐00039
Madison         Barbara              2:15‐cv‐00040
Blanks          Lisa                 2:15‐cv‐00041
Banks           Iris                 2:15‐cv‐00042‐RMG
Babbitt         Audrey               2:15‐cv‐00043
Murdock         Lynn                 2:15‐cv‐00050‐RMG
Regala          Susan                2:15‐cv‐00064
Haessly         Jacqueline           2:15‐cv‐00069
Hewell          Janice (Estate of)   2:15‐cv‐00071
Hill            Annie (Estate of)    2:15‐cv‐00072
Hafner          Janet W.             2:15‐cv‐00074
Heath           Peggy                2:15‐cv‐00075
Day             Patricia             2:15‐cv‐00078
Christopher     Rebecca              2:15‐cv‐00080‐RMG
Folsom          Barbara              2:15‐cv‐00081




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    PLAINTIFF        PLAINTIFF                                             CIVIL CASE NO.
    LAST NAME       FIRST NAME

Williams        Susie            2:15‐cv‐00082
Ollis           Linda            2:15‐cv‐00083
Anderson        Sharon P.        2:15‐cv‐00096
Halsing         Nankyong         2:15‐cv‐00097
Taylor          Edna             2:15‐cv‐00101
Thomas          Brenda M.        2:15‐cv‐00110‐RMG
Gaddie          Judy             2:15‐cv‐00111
Frase           Jacqueline       2:15‐cv‐00118
Mahon           Joyce            2:15‐cv‐00119‐RMG
Maddox          Cassandra        2:15‐cv‐00121‐RMG
Taylor          Cynthia          2:15‐cv‐00122‐RMG
Washington‐     Barbara          2:15‐cv‐00124‐RMG
Davidson
Johnson         Tiffany          2:15‐cv‐00127
Bartley         Linda            2:15‐cv‐00128‐RMG
Fultz           Jacklyn          2:15‐cv‐00135
Bowie           Katherine        2:15‐cv‐00136
Korb            Edith            2:15‐cv‐00143
London          Mary             2:15‐cv‐00144
Miller          Margaret         2:15‐cv‐00145
Rubin           Edie             2:15‐cv‐00147
Wheeler         Patricia         2:15‐cv‐00148
Whitford        Linda            2:15‐cv‐00149
Hicks           Lisa             2:15‐cv‐00150
Gregory         Sharon           2:15‐cv‐00151
Hardley         Jeanette         2:15‐cv‐00152
Henning         Carol            2:15‐cv‐00153
Hinkle          Glenna           2:15‐cv‐00154
Merritt         Carrie           2:15‐cv‐00155
Moore           Martha           2:15‐cv‐00156
Randolph        Carolyn          2:15‐cv‐00157
Winthrop        Judith           2:15‐cv‐00158
Gross           Bernita          2:15‐cv‐00159
Fisher          Anna             2:15‐cv‐00165
Nation          Carol            2:15‐cv‐00169‐RMG
Ray             Ronald Scott     2:15‐cv‐00180‐RMG
Robin           Melba            2:15‐cv‐00181‐RMG



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    PLAINTIFF        PLAINTIFF                                             CIVIL CASE NO.
    LAST NAME       FIRST NAME

Gaines          Janie M.         2:15‐cv‐00182‐RMG
Carrier         JoAnn            2:15‐cv‐00183
Williams        Laryssa          2:15‐cv‐00192‐RMG
Rives           India            2:15‐cv‐00193‐RMG
Young           Sandra           2:15‐cv‐00197‐RMG
Herbert         Wilhelmina       2:15‐cv‐00225
Clay            Alphia           2:15‐cv‐00226
Brannan         Nancy            2:15‐cv‐00227
Davis           Sarah            2:15‐cv‐00228
Anglin          Gioconda         2:15‐cv‐00229
Klein           Barbara          2:15‐cv‐00230
Kelley          SharonDenise     2:15‐cv‐00232
Ardoin          Janice           2:15‐cv‐00233
Inman           Patricia         2:15‐cv‐00234
Dunbar          Jennifer         2:15‐cv‐00238
Johnson         Margaret         2:15‐cv‐00241
Mason           Diane            2:15‐cv‐00242
Brown           Brenda           2:15‐cv‐00252
Wilmore         Michelle         2:15‐cv‐00255
Pasley          Mae              2:15‐cv‐00256
Atkins          Mary             2:15‐cv‐00257
Brabant         Sandra           2:15‐cv‐00258
Bradley         Judy             2:15‐cv‐00259
Bradford        Mary             2:15‐cv‐00266
Durand          Claire           2:15‐cv‐00278‐RMG
Schiraldi       Jean             2:15‐cv‐00285
Saro            Carmen           2:15‐cv‐00286
Rodriguez       Luz              2:15‐cv‐00287
Amari           Edna             2:15‐cv‐00289
Durant          Francine C.      2:15‐cv‐00293
Elmore          Bobbie           2:15‐cv‐00294
Fisher          Sandra L.        2:15‐cv‐00295
Grinnell        Annie            2:15‐cv‐00313
Hanson          Charlotte        2:15‐cv‐00314
Williams        Jessica          2:15‐cv‐00319




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    PLAINTIFF        PLAINTIFF                                             CIVIL CASE NO.
    LAST NAME       FIRST NAME

Williamson      Mattie           2:15‐cv‐00322
Ogentho         Erica            2:15‐cv‐00323
Sebastian       Tina             2:15‐cv‐00324
Bramlette       Betty            2:15‐cv‐00325
Smith           Linda            2:15‐cv‐00327
Vance           Frances          2:15‐cv‐00328
Latimore        Onell            2:15‐cv‐00332
Henley          Elizabeth        2:15‐cv‐00334
Wright          Linda            2:15‐cv‐00336
Peale           Barbara          2:15‐cv‐00337
Hulce           Debra            2:15‐cv‐00338
Decker          Janice           2:15‐cv‐00341
Jay             Marian           2:15‐cv‐00349
Royce           Melanie          2:15‐cv‐00350‐RMG
Johnson         Dianne           2:15‐cv‐00352‐RMG
Wise            Lois             2:15‐cv‐00353
Anderson        Hattie           2:15‐cv‐00354‐RMG
Portney         Harriet          2:15‐cv‐00361‐RMG
Judkins         Barbara          2:15‐cv‐00369
Karns           Ennis            2:15‐cv‐00370
Koller          Alice            2:15‐cv‐00371
Greer           Karen            2:15‐cv‐00373‐RMG
Welch           Jean L.          2:15‐cv‐00377‐RMG
Bailey          Helen            2:15‐cv‐00378‐RMG
Amos            Joann            2:15‐cv‐00382‐RMG
Delano          Dorothy          2:15‐cv‐00384
Kunkel          Brenda           2:15‐cv‐00385
Rodriguez       Linda            2:15‐cv‐00394‐RMG
Langbein        Joyce            2:15‐cv‐00395‐RMG
James           Ella             2:15‐cv‐00397
Horne           Elizabeth        2:15‐cv‐00398
Williams        Sandra           2:15‐cv‐00401
Marshall        Theresa          2:15‐cv‐00402
Helie           Mary Jane        2:15‐cv‐00409
Wilson          Mertis L.        2:15‐cv‐00410‐RMG
Poirier         Judith           2:15‐cv‐00413‐RMG
Taborn          Julie            2:15‐cv‐00414‐RMG
Cirri           Antonietta       2:15‐cv‐00415‐RMG
Ming            Jeanie           2:15‐cv‐00417‐RMG
Kompare         Kathryn          2:15‐cv‐00418‐RMG


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    PLAINTIFF       PLAINTIFF                                             CIVIL CASE NO.
    LAST NAME      FIRST NAME

Lumpkin         Judith A.       2:15‐cv‐00421‐RMG
Perez           Maria           2:15‐cv‐00430‐RMG
WRIGHT          CEOLA           2:15‐cv‐00435‐RMG
Mitchell        Truthie         2:15‐cv‐00436‐RMG
ZEIGLER         CATHERINE       2:15‐cv‐00446‐RMG
Craver          Connie          2:15‐cv‐00447
Wohlfarth       Mary            2:15‐cv‐00449
Arp             Shelia          2:15‐cv‐00450
Gower           Cynthia         2:15‐cv‐00452
Pittman         Lillie          2:15‐cv‐00453
Chavez          Mary Lou        2:15‐cv‐00455
Leviness        Gilda           2:15‐cv‐00456
Regalado        Katy            2:15‐cv‐00457
Clifton         Barbara         2:15‐cv‐00458
Lopez Mendez    Juana           2:15‐cv‐00460
Green‐Owens     Mary            2:15‐cv‐00461
Eygabroad       Jane            2:15‐cv‐00462
White           Ella            2:15‐cv‐00464
Thomas          Vickie          2:15‐cv‐00466
Marshall        Nancy           2:15‐cv‐00467
Gaffney         Linda           2:15‐cv‐00468
Flynn           Violet          2:15‐cv‐00470
Hall            Alyce           2:15‐cv‐00471
Kelly           Betty           2:15‐cv‐00472
Chambers        Terrie          2:15‐cv‐00473
Rochester       Sue             2:15‐cv‐00476
Cunningham      Joyce           2:15‐cv‐00477
Nguyen          Chelsea         2:15‐cv‐00479
Bell            Mamie           2:15‐cv‐00480
Harris          Hynethia        2:15‐cv‐00497
Hinkson         Lucinda         2:15‐cv‐00498
Sanders         Geraldine       2:15‐cv‐00499
McCauley        Anna            2:15‐cv‐00500
VandeVelde      Donna           2:15‐cv‐00501
Braun           Constance       2:15‐cv‐00509
Apruzzese       Joan            2:15‐cv‐00511
Burchfield      Margaret        2:15‐cv‐00514
Burns           Susan L.        2:15‐cv‐00515
Goldsmith       Debra           2:15‐cv‐00541
Harmon          Doreen          2:15‐cv‐00542

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    LAST NAME       FIRST NAME

Delph           Ruth             2:15‐cv‐00543
Michael         Tawny Lee        2:15‐cv‐00549
Harmon          Patricia A.      2:15‐cv‐00557‐RMG
Allen           Shirley          2:15‐cv‐00558
Biggs           Nancy L.         2:15‐cv‐00566
Hawley          Susan            2:15‐cv‐00568
Harris          Jessie           2:15‐cv‐00569
Brayman         Linda            2:15‐cv‐00575‐RMG
Ferguson        Norma            2:15‐cv‐00576
Robinson        Doretha          2:15‐cv‐00577‐RMG
Corwin          Sandra           2:15‐cv‐00578‐RMG
Bishop          Carolyn          2:15‐cv‐00584
Gibson          Penny L.         2:15‐cv‐00585
Melvin          Gloria           2:15‐cv‐00591‐RMG
Levine          Tina             2:15‐cv‐00592
Rooker          Charlette        2:15‐cv‐00601‐RMG
                (Charlotte
Hoskins         Joyce            2:15‐cv‐00602‐RMG
Burton          Maray            2:15‐cv‐00605‐RMG
Scott           Honest           2:15‐cv‐00607
Morris          Lula             2:15‐cv‐00608
Jackson         Bobbie A.        2:15‐cv‐00613
Hilliard        Samantha         2:15‐cv‐00614
Dorreliand      Ghistaine        2:15‐cv‐00615
Al‐Ahmad        Nabila           2:15‐cv‐00616
Aiken           Sarah            2:15‐cv‐00617
Anctil          Sherryl          2:15‐cv‐00618
Hines           Joan             2:15‐cv‐00622
Instenes        Franacee D.      2:15‐cv‐00623
Barfoot         Viola            2:15‐cv‐00635
Koon            Karen S.         2:15‐cv‐00636
Bradley         Phyllis          2:15‐cv‐00655
Jacobs          Delores          2:15‐cv‐00659‐RMG
Richardson      Loretta          2:15‐cv‐00660‐RMG
Zeisler         Kimberley        2:15‐cv‐00661‐RMG
Stratton        Bonnie           2:15‐cv‐00672
Nowlin          Clara            2:15‐cv‐00673
Pardi           Alena            2:15‐cv‐00674
Cavalier        Deborah          2:15‐cv‐00677
Latham          Nona             2:15‐cv‐00678

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   PLAINTIFF        PLAINTIFF                                             CIVIL CASE NO.
   LAST NAME       FIRST NAME

McAdams        Shirley          2:15‐cv‐00679
Puckett        Wanda            2:15‐cv‐00680
Welch          Helen            2:15‐cv‐00681
Lorenzen       Barbara          2:15‐cv‐00685‐RMG
Treat          Shirley          2:15‐cv‐00686‐RMG
Meyer          Lorna            2:15‐cv‐00687‐RMG
Rebecca        Simmons          2:15‐cv‐00693‐RMG
Sinnott        Kathleen         2:15‐cv‐00699‐RMG
Williamson     Brenda           2:15‐cv‐00700‐RMG
Kidd           Sharon           2:15‐cv‐00725‐RMG
Jenkins        Barbara          2:15‐cv‐00726
Holley         Joyce            2:15‐cv‐00727
WESBERRY       SHERRIE          2:15‐cv‐00732‐RMG
Lueth          Kathleen         2:15‐cv‐00739‐RMG
Sheridan       Sandra           2:15‐cv‐00740‐RMG
Hyman          Billie           2:15‐cv‐00744‐RMG
McCants        Jamie            2:15‐cv‐00746‐RMG
Baker          Elizabeth        2:15‐cv‐00748‐RMG
Malloy         Susie            2:15‐cv‐00750
TERRY          MARYJANE         2:15‐cv‐00755‐RMG
Cash           Patricia         2:15‐cv‐00758
Cooper         Betty            2:15‐cv‐00760
White          Dianne           2:15‐cv‐00761
Green‐King     Mary             2:15‐cv‐00763
Wilkerson      Gloristine       2:15‐cv‐00765
Pruitt         Kathy Corina     2:15‐cv‐00767‐RMG
Purnell        Barbara          2:15‐cv‐00768‐RMG
Streeter       Mary             2:15‐cv‐00769
Killian        Cassandra        2:15‐cv‐00788
Pittman        Tammy            2:15‐cv‐00791‐RMG
O'Leary        Deborah          2:15‐cv‐00792‐RMG
Rodgers        Judith           2:15‐cv‐00793‐RMG
McCorvey       Beulah           2:15‐cv‐00796‐RMG
Pope           Patricia S.      2:15‐cv‐00800‐RMG
Sirois         Sheila           2:15‐cv‐00801‐RMG
Stall          Carolyn Y.       2:15‐cv‐00804‐RMG
Harris         Sandra           2:15‐cv‐00806
Vaughn         Joanna           2:15‐cv‐00810‐RMG
Noisette       Inez             2:15‐cv‐00814
Prosie         Alice            2:15‐cv‐00819

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    PLAINTIFF          PLAINTIFF                                             CIVIL CASE NO.
    LAST NAME         FIRST NAME

Bell              Priscilla        2:15‐cv‐00820
Bartley           Gemma            2:15‐cv‐00823
Jones             Cathy            2:15‐cv‐00824
Baughman          Barbara          2:15‐cv‐00825‐RMG
Edwards           Chiquinita       2:15‐cv‐00826‐RMG
Hanna             Barbara          2:15‐cv‐00827‐RMG
Hennessy          Lisa             2:15‐cv‐00828‐RMG
Hooks             Charlotte        2:15‐cv‐00829‐RMG
Lockhart          Dorothy          2:15‐cv‐00830‐RMG
Maloney           Beth             2:15‐cv‐00832‐RMG
Martin            Rena             2:15‐cv‐00833‐RMG
Messer‐Holliday   Donna            2:15‐cv‐00834‐RMG
Miller            Sue (Lydia)      2:15‐cv‐00835‐RMG
Reed              Mary             2:15‐cv‐00836‐RMG
Reid              Sherry           2:15‐cv‐00837‐RMG
Sellers           Frances          2:15‐cv‐00838‐RMG
Spears            Deborah          2:15‐cv‐00839‐RMG




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    PLAINTIFF       PLAINTIFF                                             CIVIL CASE NO.
    LAST NAME      FIRST NAME

Taylor          Clementine      2:15‐cv‐00840‐RMG
Thompson        Robin           2:15‐cv‐00841‐RMG
Wheeler         Deborah         2:15‐cv‐00842‐RMG
Spoke           Marcine         2:15‐cv‐00843
Wilborn         Danielle        2:15‐cv‐00844‐RMG
Greatheart      Yvonne M.       2:15‐cv‐00845
Wray            Delores         2:15‐cv‐00846‐RMG
Marshall        Shirley         2:15‐cv‐00847‐RMG
Jackson         Olor            2:15‐cv‐00849
Moffitt‐Woods   Philippa        2:15‐cv‐00851‐RMG
White           Dorothy         2:15‐cv‐00856‐RMG
Odum            Helen           2:15‐cv‐00857‐RMG
Radley          Barbara         2:15‐cv‐00858‐RMG
Brame           Sandra          2:15‐cv‐00862
Young           Dorothy         2:15‐cv‐00863
Knapek          Shirley         2:15‐cv‐00866
Bernard         Melissa         2:15‐cv‐00868
Ramsey          Carlon          2:15‐cv‐00873‐RMG
Sires           Pamela          2:15‐cv‐00874‐RMG
Wilson          Mildred         2:15‐cv‐00882
Martin          Rosetta         2:15‐cv‐00883
McMullen        Anita           2:15‐cv‐00885
Douglas         Mary            2:15‐cv‐00886
Nelson          Virgie          2:15‐cv‐00889
Gibson          Mary            2:15‐cv‐00891
Thomas          Carrie          2:15‐cv‐00892
Fontana         Henrietta       2:15‐cv‐00893
Pernell         Gearldine       2:15‐cv‐00894
Pich            Samath          2:15‐cv‐00896‐RMG
Johnson         Sandra          2:15‐cv‐00898




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    PLAINTIFF        PLAINTIFF                                             CIVIL CASE NO.
    LAST NAME       FIRST NAME

Busch           Kathleen         2:15‐cv‐00899‐RMG
Yakes           Deborah L.       2:15‐cv‐00900‐RMG
York            Julia Ann        2:15‐cv‐00902‐RMG
Thomas          Vivian           2:15‐cv‐00903‐RMG
Mecca           Randi            2:15‐cv‐00905‐RMG
Michael         Flor             2:15‐cv‐00906‐RMG
Williams        Dianna           2:15‐cv‐00908
Seyferth        Karin            2:15‐cv‐00909
McCoy           Patricia         2:15‐cv‐00911
Pendergrast     Carol            2:15‐cv‐00913
Swanigan        Calverta Tate    2:15‐cv‐00914‐RMG
Williams        Sylvia F.        2:15‐cv‐00915‐RMG
Maysonet        Carmen J.        2:15‐cv‐00916
Compton         Joanne           2:15‐cv‐00919‐RMG
Parker          Sharon           2:15‐cv‐00932‐RMG
Everly          Tommie           2:15‐cv‐00938
Kessler         Sharon           2:15‐cv‐00939
Beard           Beverly          2:15‐cv‐00940‐RMG
Newell‐Lewis    Kathy            2:15‐cv‐00941
Richards        Elizabeth        2:15‐cv‐00942
Stier           Scottie          2:15‐cv‐00947
Bomgardner      Judy             2:15‐cv‐00950‐RMG
Warnes          Candace Lea      2:15‐cv‐00951
Vandling        Laura            2:15‐cv‐00952
Manning         Harvey           2:15‐cv‐00955‐RMG
Moore           Gwendolyn        2:15‐cv‐00956‐RMG
Robinson        Peggy            2:15‐cv‐00958‐RMG
Sechler         Helen            2:15‐cv‐00959‐RMG
Taylor          Pansey           2:15‐cv‐00960‐RMG
Taylor          Pauline          2:15‐cv‐00961‐RMG
Thomas          Mary             2:15‐cv‐00962‐RMG
Washington      Barbarl          2:15‐cv‐00964‐RMG
Waters          Lillie           2:15‐cv‐00965‐RMG
Williams        Vergie           2:15‐cv‐00966‐RMG
Dillon          Leatrice         2:15‐cv‐00967‐RMG
HARRIS          ANNIE            2:15‐cv‐00968‐RMG




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    PLAINTIFF         PLAINTIFF                                                CIVIL CASE NO.
    LAST NAME        FIRST NAME

CAMPBELL        BERTHA               2:15‐cv‐00969‐RMG
Brinson         Catherine            2:15‐cv‐00971‐RMG
Grafton         Sandra               2:15‐cv‐00972‐RMG
Lopez           Betty                2:15‐cv‐00987‐RMG
Koker           Sandra               2:15‐cv‐00988‐RMG
Niles           Rebecca              2:15‐cv‐00989‐RMG
Roberts         Amanda               2:15‐cv‐00991‐RMG
Wilson          Joanne               2:15‐cv‐00992‐RMG
DeSimone        Olimpia              2:15‐cv‐00997‐RMG
Jordan          Terry                2:15‐cv‐00998‐RMG
Kelly           Yvonne               2:15‐cv‐00999‐RMG
Sutton          Lee Nora             2:15‐cv‐01007‐RMG
Harrison        Priscilla            2:15‐cv‐01015
West            Laura E.             2:15‐cv‐01022‐RMG
Hickey          Martha (Estate of)   2:15‐cv‐01024
Hampton         Mary                 2:15‐cv‐01025
Segers          Chin                 2:15‐cv‐01027
Reed            Rebecca              2:15‐cv‐01028
Motti           Joyce                2:15‐cv‐01029
DiProfio        Kathy                2:15‐cv‐01030
Gammage         Dorothy              2:15‐cv‐01033
Black           Jerilyn              2:15‐cv‐01043
Bryson          Mary Jo              2:15‐cv‐01049‐RMG
Everett         Judy                 2:15‐cv‐01050
Blackwell       Tina                 2:15‐cv‐01054‐RMG
Booze‐Flowers   Sheryle              2:15‐cv‐01058
Dreyer          Pamela S.            2:15‐cv‐01066
Jarrell         Teresita             2:15‐cv‐01067
Daley           Patricia J.          2:15‐cv‐‐01068
Browning        Mary                 2:15‐cv‐01091
Barr            Linda Hill           2:15‐cv‐01092
Williams        Dora A.              2:15‐cv‐01110




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   PLAINTIFF        PLAINTIFF                                             CIVIL CASE NO.
   LAST NAME       FIRST NAME

Davis           Julia           2:15‐cv‐01121‐RMG
Kurkowski       Linda           2:15‐cv‐01133
Allmond         Sharon          2:15‐cv‐01139‐RMG
Grillo          Debra           2:15‐cv‐01140‐RMG
Heflin          Janice          2:15‐cv‐01143‐RMG
Lottie          Patricia        2:15‐cv‐01145‐RMG
Waters          Rosetta         2:15‐cv‐01146‐RMG
Smith‐Timmons   Rhonda          2:15‐cv‐01147‐RMG
Engebretson     Karen Kaye      2:15‐cv‐01153
                (Estateof)
Flippo          Peggy           2:15‐cv‐01154
Fugiel          Anita           2:15‐cv‐01155
Lee             Jennifer        2:15‐cv‐01159
Hadley          Helen           2:15‐cv‐01163‐RMG
Hanson          Patricia        2:15‐cv‐01164
Harry‐Orr       Linda           2:15‐cv‐01165
Harrison        Mary            2:15‐cv‐01166
Gager           Dixie           2:15‐cv‐01179
Chase           Betty A.        2:15‐cv‐01182
Haye(Densky)    Jody            2:15‐cv‐01198‐RMG
Keough          Sandra          2:15‐cv‐01199‐RMG
Berling         Lucille         2:15‐cv‐01203
Frederick       Patricia        2:15‐cv‐01211
Brechner        Jerilyn         2:15‐cv‐01221
Santa Cruz      Maria           2:15‐cv‐01228‐RMG
Vodek           Rebecca         2:15‐cv‐01229‐RMG
Davis           Blontee         2:15‐cv‐01231‐RMG
Cease           Charlene D.     2:15‐cv‐01233
Hamilton        Nonda           2:15‐cv‐01234
Korade          Ann             2:15‐cv‐01242
Allison         Deborah         2:15‐cv‐01243‐RMG
NorthCutt       Judy Kay        2:15‐cv‐01248‐RMG
Farmer          Sarah           2:15‐cv‐01249‐RMG
Dickerson       Sandra          2:15‐cv‐01289
Bush            Jean L.         2:15‐cv‐01290
Henry           Jacquelyn       2:15‐cv‐01291
Jimenez         Gwendolyn       2:15‐cv‐01292
Kemp            Brenda          2:15‐cv‐01295
Korb            CatherineM.     2:15‐cv‐01296


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    PLAINTIFF         PLAINTIFF                                             CIVIL CASE NO.
    LAST NAME        FIRST NAME

King             Beverly          2:15‐cv‐01319
Castro           Tracy            2:15‐cv‐01321‐RMG
Coffelt          Cheryl           2:15‐cv‐01329‐RMG
Pryor            JoAnne           2:15‐cv‐01347
Bedigian         Vianca           2:15‐cv‐01356‐RMG
Berryhill        Dora             2:15‐cv‐01356‐RMG
Calvetti         Nancy            2:15‐cv‐01356‐RMG
Deitsch          Marie            2:15‐cv‐01356‐RMG
Fisher           Karen            2:15‐cv‐01356‐RMG
Harper           Eunice           2:15‐cv‐01356‐RMG
Haygood          Jo Ann           2:15‐cv‐01356‐RMG
Mabe             Cheryl           2:15‐cv‐01356‐RMG
Porter           Elsie            2:15‐cv‐01356‐RMG
Romero           Nora             2:15‐cv‐01356‐RMG
Snodgrass        Mary Ann         2:15‐cv‐01356‐RMG
Thompson         Iris             2:15‐cv‐01356‐RMG
Webb             Patricia         2:15‐cv‐01356‐RMG
Webb             Debra            2:15‐cv‐01356‐RMG
Creveling‐Alma   Donna M.         2:15‐cv‐01368
Kincaid          Mary             2:15‐cv‐01369
Guss             Linda            2:15‐cv‐01372‐RMG
Johnson          Linda            2:15‐cv‐01374
Davis            Brenda           2:15‐cv‐01375
Tyler            Margaret         2:15‐cv‐01396‐RMG
Cohan‐Zakay      Guity            2:15‐cv‐01405
Cohen            Cathryn G.       2:15‐cv‐01406
Knotts           Carol M.         2:15‐cv‐01408
Melton           Shirley          2:15‐cv‐01410‐RMG
Williams         Carolyn          2:15‐cv‐01411‐RMG
Waggoner         Virginia         2:15‐cv‐01412‐RMG
Fetcko           Denise           2:15‐cv‐01419
Graff            Peggy Gail       2:15‐cv‐01420
Kroeze           Susan Kay        2:15‐cv‐01421
Hoke             Jacintha         2:15‐cv‐01423
Good             Mardena          2:15‐cv‐01424
Carter           Linda            2:15‐cv‐01425
Flemings         Teresa           2:15‐cv‐01426
Resurreccion     Belen            2:15‐cv‐01428
Wilson           Geraldine        2:15‐cv‐01429
Tagavilla        Zenaida          2:15‐cv‐01440‐RMG

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   PLAINTIFF              PLAINTIFF                                             CIVIL CASE NO.
   LAST NAME             FIRST NAME

Whitworth            Carol            2:15‐cv‐01441‐RMG
Huber                Billie           2:15‐cv‐01442
Huitt                Carol            2:15‐cv‐01444
Cowan                Brenda           2:15‐cv‐01445
Kicinski             Pauline          2:15‐cv‐01446
Reese                Brenda           2:15‐cv‐01447
Kaye                 Carol            2:15‐cv‐01449‐RMG
Lee                  Macy             2:15‐cv‐01450
Benson               Lara             2:15‐cv‐01452‐RMG
Mason                Marilyn          2:15‐cv‐01453‐RMG
Burch                Tracy            2:15‐cv‐01454
Hawks                Barbara          2:15‐cv‐01461
Cunningham           Sarah            2:15‐cv‐01464‐RMG
Bukowski             Mary             2:15‐cv‐01497
Sparks               Lori             2:15‐cv‐01498‐RMG
Gruden               Barbara A.       2:15‐cv‐01500
Dominick‐McFarlane   Carole           2:15‐cv‐01521‐RMG
Lewicki              Teresa           2:15‐cv‐01522
Hartman              Linda            2:15‐cv‐01527
Charlton             Marsetta         2:15‐cv‐01528
Hemmingsen           Janyce           2:15‐cv‐01529
Rison                Edwina H.        2:15‐cv‐01539‐RMG
Stokes               Claudetta        2:15‐cv‐01542
Jackson              Wynette F.       2:15‐cv‐01543‐RMG
Hartman              Kay              2:15‐cv‐01544‐RMG
RATCLIFF             CLARA            2:15‐cv‐01564‐RMG
NELSON               RHONDA           2:15‐cv‐01565‐RMG
Baldwin              Susan            2:15‐cv‐01574
Ferrarini            Lynda M.         2:15‐cv‐01575
Spencer              Mary             2:15‐cv‐01576
Burns                Peggy            2:15‐cv‐01578
Holland              Jacqueline       2:15‐cv‐01579‐RMG
Kraft                Rosemarie        2:15‐cv‐01580
Holman               Phyllis          2:15‐cv‐01586‐RMG
Lewis                Thelma           2:15‐cv‐01591
Hansen               Oleta            2:15‐cv‐01639
Chenier              Patsy            2:15‐cv‐01640
Collins              Betty Jane       2:15‐cv‐01641
Cummings             Barbara          2:15‐cv‐01642


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    PLAINTIFF        PLAINTIFF                                             CIVIL CASE NO.
    LAST NAME       FIRST NAME

Jackson         Delores          2:15‐cv‐01665
Famolare        Virginia         2:15‐cv‐01666
Garvin          Rosa             2:15‐cv‐01667
Hill            Annie M.         2:15‐cv‐01668
Brengel         Dorothy          2:15‐cv‐01669
KOUNS           JENNIFER         2:15‐cv‐01685‐RMG
Campbell        Carol            2:15‐cv‐01686
Cates           Louise           2:15‐cv‐01687
Clark           Jacqueline       2:15‐cv‐01689
Curtis          Agnes            2:15‐cv‐01692
Knapp           Tammy            2:15‐cv‐01693
Tube            Skeeter M.       2:15‐cv‐01694‐RMG
Lindsey         Johnnie          2:15‐cv‐01700‐RMG
McGonigle       Bonnie           2:15‐cv‐01707‐RMG
Roberson        Lou Ellen        2:15‐cv‐01708‐RMG
Person          Rose             2:15‐cv‐01709‐RMG
Bender          Betty            2:15‐cv‐01711
Currie          Joann            2:15‐cv‐01712
Erickson        Cynthia          2:15‐cv‐01713
Scott           Angela           2:15‐cv‐01745
Graham          Arnia Faye       2:15‐cv‐01746
Patterson       Mary             2:15‐cv‐01747
Wallenhorst     Joyce            2:15‐cv‐01760
Atcheson        Lucille          2:15‐cv‐01762‐RMG
Hughes          Cindy S.         2:15‐cv‐01764‐RMG
Swinney         Linda            2:15‐cv‐01770
Hess            Ellen            2:15‐cv‐01783
Vitale          Linda            2:15‐cv‐01792‐RMG
Dunn            Shirley          2:15‐cv‐01794
McCormick       Geralynn J.      2:15‐cv‐01795
Neil            Mavis            2:15‐cv‐01805
Haas            Carolyn          2:15‐cv‐01808
Jones           Linda            2:15‐cv‐01812‐RMG
Graham          Barbara          2:15‐cv‐01815
Bailey          Martha Ann       2:15‐cv‐01816
Fuess           Kathryn          2:15‐cv‐01817
Clarke          Bernice          2:15‐cv‐01820
Galbiso         Denise           2:15‐cv‐01821
Winfrey         Delilah          2:15‐cv‐01828‐RMG
Parrott         Lois             2:15‐cv‐01829‐RMG

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   PLAINTIFF       PLAINTIFF                                             CIVIL CASE NO.
   LAST NAME      FIRST NAME

Bowers         Judith A.       2:15‐cv‐01831
Brand          Judy            2:15‐cv‐01832
Drury          Rebecca         2:15‐cv‐01833
Harris         Gayle           2:15‐cv‐01834
Nagy           Donna           2:15‐cv‐01835‐RMG
Russell        Carmane         2:15‐cv‐01836‐RMG
Zavelovich     Eugenia         2:15‐cv‐01837‐RMG
Pennington     Norma           2:15‐cv‐01838‐RMG
Pinches        Pat             2:15‐cv‐01840‐RMG
Rodriguez      Evangelina      2:15‐cv‐01841‐RMG
Crawford       Jeanette        2:15‐cv‐01849
Hartley        Lisa            2:15‐cv‐01851
Schaffer       Doris           2:15‐cv‐01852
Townsel        Altresa         2:15‐cv‐01853
Underwood      Julie           2:15‐cv‐01854
Welch          Garnette        2:15‐cv‐01855
Hemmes         Margaret        2:15‐cv‐01857
Piszczek       Queen           2:15‐cv‐01861‐RMG
Jackson        Carolyn         2:15‐cv‐01862
Riordan        Patricia        2:15‐cv‐01863‐RMG
SHEAR          DEBORAH         2:15‐cv‐01864‐RMG
MILLER         SHARON          2:15‐cv‐01865‐RMG
Sibert         Joyce M.        2:15‐cv‐01869‐RMG
Parrish        Loucella        2:15‐cv‐01879
Thomas         Annie           2:15‐cv‐01880
Vernotica      Linda           2:15‐cv‐01897‐RMG
Lyall          Vi              2:15‐cv‐01898‐RMG
Douglass       Ellen           2:15‐cv‐01901
Williams       Dora L.         2:15‐cv‐01902
Smith          Ermagene        2:15‐cv‐01903
Ambarchian     Karmen          2:15‐cv‐01911
Antonyan       Veganush        2:15‐cv‐01911
Lane           Wanda           2:15‐cv‐01911




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    PLAINTIFF          PLAINTIFF                                                CIVIL CASE NO.
    LAST NAME         FIRST NAME

LaTorre            Myra               2:15‐cv‐01911
Mayo               Nedra              2:15‐cv‐01911
McKee              Margo              2:15‐cv‐01911
Miller             Beverly            2:15‐cv‐01911
Mueller            Elizabeth          2:15‐cv‐01911
Parsamyan          Elizabeth          2:15‐cv‐01911
Peddicord          Meighan            2:15‐cv‐01911
Poghosyan          Areknazan          2:15‐cv‐01911
Pogosyan           Asyor              2:15‐cv‐01911
Ritzel             Carolyn            2:15‐cv‐01911
Sanders            Helen              2:15‐cv‐01911
Simms              Roberta            2:15‐cv‐01911
Smith              Donna              2:15‐cv‐01911
Smith              Sophia             2:15‐cv‐01911
St.JulieneRamsey   Darlene            2:15‐cv‐01911
Stocks             Viola              2:15‐cv‐01911
Suggs              Pearl              2:15‐cv‐01911
Taltoan            Cecilia            2:15‐cv‐01911
Tamba              Angela             2:15‐cv‐01911
Taylor             Sandra             2:15‐cv‐01911
Tennessee          Delores            2:15‐cv‐01911
Terjanyan          Alvard             2:15‐cv‐01911




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    PLAINTIFF        PLAINTIFF                                             CIVIL CASE NO.
    LAST NAME       FIRST NAME

Thompson        Caroline         2:15‐cv‐01911
Trdadyan        Arasksi          2:15‐cv‐01911
Vanburen        Katherine        2:15‐cv‐01911
Wagner          Brenda           2:15‐cv‐01911
Walker          Lawanda          2:15‐cv‐01911
Walker          Vandora          2:15‐cv‐01911
Watkins         Christine        2:15‐cv‐01911
Wesley          Donita           2:15‐cv‐01911
Wiley           Joy              2:15‐cv‐01911
Wilmerton       Betty            2:15‐cv‐01911
Worthy          Martha           2:15‐cv‐01911
Arutyunyan      Araks            2:15‐cv‐01912
Bondurant       Gloria           2:15‐cv‐01912
Carter          Dale             2:15‐cv‐01912
Drake           Sandra           2:15‐cv‐01912
Forest          Patricia         2:15‐cv‐01912
Galstian        Larisa           2:15‐cv‐01912
Garcia          Martha           2:15‐cv‐01912
Gilbert         Pauline          2:15‐cv‐01912
Ginyard         Valerie          2:15‐cv‐01912
Gordon          Dawn             2:15‐cv‐01912
Graves          Beverly          2:15‐cv‐01912
Green           Claudette        2:15‐cv‐01912
Green           Sallie           2:15‐cv‐01912
Hanks           Glenda           2:15‐cv‐01912
Harrington      Eddre            2:15‐cv‐01912
Heath‐Thomas    Jennie           2:15‐cv‐01912
Honeycutt       Linda            2:15‐cv‐01912
Jackson         Laura            2:15‐cv‐01912
Jenkins         Darlene          2:15‐cv‐01912
Jenkins         Gwen             2:15‐cv‐01912
Johnese         Mary             2:15‐cv‐01912
Johnson         Mae              2:15‐cv‐01912
Jones           Margaret         2:15‐cv‐01912
Khachatryan     Srbui            2:15‐cv‐01912


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    PLAINTIFF           PLAINTIFF                                              CIVIL CASE NO.
    LAST NAME          FIRST NAME

Leadbetter         Robin             2:15‐cv‐01912
Mack               Doris             2:15‐cv‐01912
McKinney           Charlotte         2:15‐cv‐01912
Melendez           Suenil            2:15‐cv‐01912
Mercer             Lucile            2:15‐cv‐01912
Pittaway           Barbara           2:15‐cv‐01912
Porter             Susie             2:15‐cv‐01912
Pugh               Marjorie          2:15‐cv‐01912
Rolland            Flora             2:15‐cv‐01912
Ruiz               Maria             2:15‐cv‐01912
Scott              Kathy             2:15‐cv‐01912
Smith              Lydia             2:15‐cv‐01912
Smith              Patricia          2:15‐cv‐01912
Starrett           Kathleen          2:15‐cv‐01912
Thomas             Mary              2:15‐cv‐01912
Ward               Carrie            2:15‐cv‐01912
Williams           Dorothy           2:15‐cv‐01912
Wilson             Ardina            2:15‐cv‐01912
Ali                Violet            2:15‐cv‐01913
Ayrapetyan         Mariam            2:15‐cv‐01913
Bardwell           Edna              2:15‐cv‐01913
Bassett            Linda             2:15‐cv‐01913
Bowman             Cordelia          2:15‐cv‐01913
Bowman             Melva             2:15‐cv‐01913
Brantley‐Garrett   Lillie            2:15‐cv‐01913
Britten            Margie            2:15‐cv‐01913
Brooks             Deloris           2:15‐cv‐01913
Brooms             Sherrie           2:15‐cv‐01913
Butler             Brenda            2:15‐cv‐01913




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    PLAINTIFF        PLAINTIFF                                             CIVIL CASE NO.
    LAST NAME       FIRST NAME

Byron           Elizabeth        2:15‐cv‐01913
Cater           Elizabeth        2:15‐cv‐01913
Change          Ruth             2:15‐cv‐01913
Christian       Brenda           2:15‐cv‐01913
Coleman         Cynthia          2:15‐cv‐01913
Coleman         Geneva           2:15‐cv‐01913
Cordell         Julie            2:15‐cv‐01913
Cubie           Geraldine        2:15‐cv‐01913
Curtis          Ocie             2:15‐cv‐01913
Doane           Gladys           2:15‐cv‐01913
Faulkner        Althea           2:15‐cv‐01913
Hardy‐Cole      Debra            2:15‐cv‐01913
Jackson         Phyllis          2:15‐cv‐01913
McDowall        Claudette        2:15‐cv‐01913
Radl            Margaret         2:15‐cv‐01913
Rosales         Beatriz          2:15‐cv‐01913
Sharkey         Vera             2:15‐cv‐01913
Thompson        Sarah            2:15‐cv‐01913
Williams        Amber            2:15‐cv‐01913
Williams        Marlene          2:15‐cv‐01913
Winn            Sharon           2:15‐cv‐01913
Srun            Heng Ya          2:15‐cv‐01915‐RMG
Dols            Eileen           2:15‐cv‐01916
Eckert          Helen Ann        2:15‐cv‐01917
Graves          Brenda           2:15‐cv‐01919
Hoenig          Nancy            2:15‐cv‐01920
Dorrity         Myra             2:15‐cv‐01924
Hernandez       Elida            2:15‐cv‐01925
Huseby          Kirsten          2:15‐cv‐01926




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    PLAINTIFF         PLAINTIFF                                             CIVIL CASE NO.
    LAST NAME        FIRST NAME

Knisley          Lorena           2:15‐cv‐01927
Minatra          Sandra           2:15‐cv‐01939‐RMG
Schmidtzinksky   Theresa          2:15‐cv‐01940‐RMG
Shelton          Mary Alice       2:15‐cv‐01942
Maddox           Gracie           2:15‐cv‐01968‐RMG
Smola            Vicki            2:15‐cv‐01974
Wadibia          Carol            2:15‐cv‐01987‐RMG
Eidsness         Linda            2:15‐cv‐01991
Campbell         Cynthia          2:15‐cv‐01994‐RMG
Pickel           Susan            2:15‐cv‐01998‐RMG
Longoria,JoAnn   JoAnn            2:15‐cv‐02001
Wegner           Ina May          2:15‐cv‐02018‐RMG
Gouff            Alice            2:15‐cv‐02026
Dunn             Luecreasia       2:15‐cv‐02031
Pruett           Rosalind         2:15‐cv‐02032
MILFORD          CLAIRE           2:15‐cv‐02033‐RMG
Kazanas          Judith           2:15‐cv‐02037
Kosnitch         Josephine        2:15‐cv‐02047‐RMG
Smith            Sandra           2:15‐cv‐02061
Tristano         Nancy            2:15‐cv‐02067
Nichols          Kathy            2:15‐cv‐02070
Buchanan         Debra            2:15‐cv‐02072
Cale             Audrey           2:15‐cv‐02081
Metcalfe         June             2:15‐cv‐02090‐RMG
Brown            Laura            2:15‐cv‐02153
Richardson       Esver            2:15‐cv‐02154‐RMG
Hedden           Willie           2:15‐cv‐02155
McDonald         Paula M.         2:15‐cv‐02156‐RMG
Dunovant         Joe Ann          2:15‐cv‐02160
Mikles           Terry            2:15‐cv‐02171‐RMG
McDonald         Deborah          2:15‐cv‐02172‐RMG
Oster            Eileen           2:15‐cv‐02175‐RMG
Fusco            Louise           2:15‐cv‐02176
Mosby            Alice            2:15‐cv‐02180
Tague            Elida            2:15‐cv‐02181
Anderson         Diane            2:15‐cv‐02182
Peterson         Helen            2:15‐cv‐02183‐RMG
Essah            Lima             2:15‐cv‐02184




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   PLAINTIFF        PLAINTIFF                                                  CIVIL CASE NO.
   LAST NAME       FIRST NAME

Peavey         Dorothy               2:15‐cv‐02185
Duncan         Rose                  2:15‐cv‐02191
Singh          Reinell (Estate of)   2:15‐cv‐02197
Tucker         Victoria              2:15‐cv‐02201RMG
Johnson        Barbara               2:15‐cv‐02202‐RMG
Melton         Jean                  2:15‐cv‐02206‐RMG
Milham         Joanne                2:15‐cv‐02211‐RMG
ABERNATHY      BONNIE                2:15‐cv‐02215‐RMG
Bentley        Rebecca Joan          2:15‐cv‐02219
Slycord        Barbara               2:15‐cv‐02225‐RMG
Barreto        Celia                 2:15‐cv‐02232
Davis          Denise Yow            2:15‐cv‐02233
Hunter         Patricia              2:15‐cv‐02234
Thacker        Joan                  2:15‐cv‐02236‐RMG
Scott          Judy                  2:15‐cv‐02237
Westerlund     Margot                2:15‐cv‐02242‐RMG
Wyatt          LaVell                2:15‐cv‐02252‐RMG
White          Josephine             2:15‐cv‐02254
Dates          Farah                 2:15‐cv‐02255‐RMG
Cushman        Deborah               2:15‐cv‐02256‐RMG
Folsom         Gaye                  2:15‐cv‐02283
Stephens       Jacquelyn             2:15‐cv‐02285‐RMG
Smith          Sandra J.             2:15‐cv‐02286‐RMG
O'Connell      Irene                 2:15‐cv‐02287‐RMG
Michaels       Michelle              2:15‐cv‐02288‐RMG
Orla           Barbara               2:15‐cv‐02295
Taylor         Irene                 2:15‐cv‐02298‐RMG
Payne          Betty                 2:15‐cv‐02299‐RMG
Orlando        Shirley               2:15‐cv‐02300‐RMG
Bodenhamer     Nancy J.              2:15‐cv‐02308
Peterson       Dr. Kari, ED.D        2:15‐cv‐02309‐RMG
Davis          Sybil                 2:15‐cv‐02310
Lund           Marcia                2:15‐cv‐02320‐RMG
Tidwell        Jo Ann                2:15‐cv‐02326
Mays           Eloise                2:15‐cv‐02334
Lee            Mona                  2:15‐cv‐02335
Milano         Christina             2:15‐cv‐02336‐RMG




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    PLAINTIFF        PLAINTIFF                                             CIVIL CASE NO.
    LAST NAME       FIRST NAME

Pettit          Darlene          2:15‐cv‐02337‐RMG
Magoon          Alice            2:15‐cv‐02351
Shu             Lee‐Fen          2:15‐cv‐02355‐RMG
Shultz          Billie           2:15‐cv‐02363
Doherty         Carol            2:15‐cv‐02364
Hubbard         Betty            2:15‐cv‐02369
Welch           Vickie           2:15‐cv‐02376‐RMG
Chrisman        Judy             2:15‐cv‐02381
Graves          Carol S.         2:15‐cv‐02382
Moskaluk        Mary Ann         2:15‐cv‐02384‐RMG
Owens           Linda            2:15‐cv‐02385‐RMG
Rawlings        Debra            2:15‐cv‐02401‐RMG
Sands           Pearl            2:15‐cv‐02404
Larkin          Diane            2:15‐cv‐02405‐RMG
Oliver          Brenda           2:15‐cv‐02406‐RMG
Moulder         Patricia         2:15‐cv‐02407‐RMG
Ruggles         Sherry           2:15‐cv‐02421‐RMG
Smith           Bonita           2:15‐cv‐02422‐RMG
Workman         Joan             2:15‐cv‐02455‐RMG
Shaw            Mindie J.        2:15‐cv‐02456‐RMG
Mowrey          Rebecca          2:15‐cv‐02460‐RMG
Tucci           Patricia         2:15‐cv‐02461‐RMG
Bearden         Brenda           2:15‐cv‐02467
Squyres         Margie           2:15‐cv‐02472‐RMG
Holmes          Deborah          2:15‐cv‐02483‐RMG
Alexander       Colleen          2:15‐cv‐02486
Leslie          Deborah          2:15‐cv‐02487‐RMG
Parrish         Eileen Jo        2:15‐cv‐02488‐RMG
Lariscy         Maxine           2:15‐cv‐02489‐RMG
Tillery         Linda J.         2:15‐cv‐02490‐RMG
Totten          Delores          2:15‐cv‐02493
LeJeune         Vienna           2:15‐cv‐02494




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   PLAINTIFF           PLAINTIFF                                             CIVIL CASE NO.
   LAST NAME          FIRST NAME

Florence           Lois            2:15‐cv‐02495
Venzant            Margaret        2:15‐cv‐02497
Lewis              Ella            2:15‐cv‐02498
Herbertson         Ann             2:15‐cv‐02500
Staples            Sheila          2:15‐cv‐02501
Land               Wanda           2:15‐cv‐02502‐RMG
Peters             Lynne           2:15‐cv‐02505‐RMG
Sher               Nina            2:15‐cv‐02506‐RMG
Zucker             Miriam          2:15‐cv‐02512‐RMG
Moreland‐Carmona   Joy             2:15‐cv‐02515
Sargent            Adele           2:15‐cv‐02520‐RMG
Boudrie            Pamela L.       2:15‐cv‐02522
Payne              AnnetteLeone    2:15‐cv‐02528‐RMG
Carroll            Susan           2:15‐cv‐02541‐RMG
Taylor             Beverly         2:15‐cv‐02555‐RMG
Povlitzki          Mary Ann        2:15‐cv‐02565‐RMG
Walker             Paula           2:15‐cv‐02576‐RMG
Villanueva         Margaretta      2:15‐cv‐02597‐RMG
Wiggans            Evelyn          2:15‐cv‐02598
Snell              Anne            2:15‐cv‐02599
Rivello            Lauralee        2:15‐cv‐02601
Coleman            Doris M.        2:15‐cv‐02602
Kaissar            Faye            2:15‐cv‐02605
Marsh              Betty           2:15‐cv‐02606
Buzard             Annette M.      2:15‐cv‐02612‐ RMG
Jewell             Cheryl          2:15‐cv‐02615
Abel               Kathleen        2:15‐cv‐02619
Farris             Linda           2:15‐cv‐02620
Darrington         Bessie          2:15‐cv‐02630
BUTLER             JOAN            2:15‐cv‐02643‐RMG
WALKER             GINA            2:15‐cv‐02644‐RMG
Cummings           Anna            2:15‐cv‐02650
Huey               Marie B.        2:15‐cv‐02651‐RMG
JACKSON            ELAINE          2:15‐cv‐02652‐RMG
Grzelak            Diane M.        2:15‐cv‐02660
Tanner             Dawn S.         2:15‐cv‐02679‐RMG
Sands              Marcia          2:15‐cv‐02680‐RMG
Thompson           Judith          2:15‐cv‐02681‐RMG
Tillman            Sandra E.       2:15‐cv‐02682‐RMG


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   PLAINTIFF       PLAINTIFF                                              CIVIL CASE NO.
   LAST NAME      FIRST NAME

Williams       G96Mae           2:15‐cv‐02683‐RMG
Fry            Eleanor          2:15‐cv‐02691‐RMG
Widmayer       Lulu             2:15‐cv‐02694
Gallman        Ellen            2:15‐cv‐02709
Elwell         Peggy            2:15‐cv‐02720
Jump           Shirley          2:15‐cv‐02729‐RMG
Leonard        Cathy            2:15‐cv‐02732
Roth           Elizabeth        2:15‐cv‐02747‐RMG
Rankin         DEBORAPatricia   2:15‐cv‐02752‐RMG
Tannenbaum     Harriet          2:15‐cv‐02753‐RMG
Knotts         Judy             2:15‐cv‐02769
Varnado        Thelma           2:15‐cv‐02771‐RMG
Crawford       Joan             2:15‐cv‐02775
Kasey          Regina           2:15‐cv‐02792
Moore          Donna            2:15‐cv‐02799‐RMG
Thompson       Brenda           2:15‐cv‐02825
Meyers         Barbara          2:15‐cv‐02826
Birkelbach     Laura            2:15‐cv‐02835
Hodges         Jacqueline       2:15‐cv‐02836
Nelson         Pamela           2:15‐cv‐02837‐RMG
Wong           Linda            2:15‐cv‐02848‐RMG
FERNANDEZ      MARIA            2:15‐cv‐02851‐RMG
Abelli         Anna             2:15‐cv‐02854‐RMG
Brant          Sharon W.        2:15‐cv‐02881
Hickey         Julie            2:15‐cv‐02885
Cook           Shirley          2:15‐cv‐02887
WARREN         BETTY            2:15‐cv‐02915‐RMG
MAGEE          LORETTA          2:15‐cv‐02917‐RMG
MOORE          PATRICIA         2:15‐cv‐02918‐RMG
STALLINGS      SARAH            2:15‐cv‐02919‐RMG
WARD           SHELIA           2:15‐cv‐02920‐RMG
WOODS          SHIRLEY          2:15‐cv‐02921‐RMG
Generette      Janet            2:15‐cv‐02925
Lipnit         Mariana          2:15‐CV‐02946
Lee            Constance        2:15‐cv‐02973
Baker          Susan            2:15‐cv‐02976
Coleman        Linda            2:15‐cv‐02984
Reed           Nora             2:15‐cv‐02993‐RMG
Glickman       Danielle         2:15‐cv‐02997‐RMG

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    PLAINTIFF           PLAINTIFF                                             CIVIL CASE NO.
    LAST NAME          FIRST NAME

Hoffman          Kim                2:15‐cv‐03004
Cullen           Evelyn             2:15‐cv‐03005
Gurevich         Adele              2:15‐cv‐03006
Agosto‐Sanchez   Nidia (Nilda)      2:15‐cv‐03007
Peeler           Fran               2:15‐cv‐03016
Franklin         Melonise           2:15‐cv‐03032‐RMG
Gatrell          Kay                2:15‐cv‐03033‐RMG
Gonzalez         Yolanda            2:15‐cv‐03035‐RMG
Gross            Sarah              2:15‐cv‐03037
Freeman          Wanda              2:15‐cv‐03049‐RMG
Henderson        Dorothy            2:15‐cv‐03065‐RMG
Isom             Althaun            2:15‐cv‐03066‐RMG
Hanes            Sandra L.          2:15‐cv‐03080‐RMG
Franza           Linda              2:15‐cv‐03090
Lee              Charlene           2:15‐cv‐03092‐RMG
Lopez            Carmen             2:15‐cv‐03093‐RMG
Lopiccolo        KathrynChristine   2:15‐cv‐03094‐RMG
James            Minnie             2:15‐cv‐03097‐RMG
Lynch            Iris               2:15‐cv‐03100‐RMG
MartinMcSwain    Shirley Elaine     2:15‐cv‐03101‐RMG
Mcneal           Mildred            2:15‐cv‐03104‐RMG
Stevens          Jonnie             2:15‐cv‐03111‐RMG
Lobdell          Barbara            2:15‐cv‐03115‐RMG
WILLIAMS         GWENDOLYN          2:15‐cv‐03118‐RMG
Thayer           Anita              2:15‐cv‐03119
McQuirk          Mary Lynn          2:15‐cv‐03124‐RMG
Northime         Elizabeth          2:15‐cv‐03125‐RMG
Engelbrecht      Brenda             2:15‐cv‐03126
Gasper           Diane              2:15‐cv‐03127
Tatman           ChristineM.        2:15‐cv‐03137‐RMG
San Jose         Gregoria           2:15‐cv‐03139
Bunch            Betty              2:15‐cv‐03144‐RMG
Ruffo            Sallie             2:15‐cv‐03146‐RMG
Stanaland        Barbara            2:15‐cv‐03148‐RMG
Mills            Patricia           2:15‐cv‐03151‐RMG
Robles           Doris              2:15‐cv‐03153‐RMG




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    PLAINTIFF          PLAINTIFF                                             CIVIL CASE NO.
    LAST NAME         FIRST NAME

Morris            Judy             2:15‐cv‐03154‐RMG
Warren            Lottie           2:15‐cv‐03168‐RMG
Webster           Vittoria         2:15‐cv‐03171‐RMG
White             Dorothy          2:15‐cv‐03172‐RMG
Ador              Mary             2:15‐cv‐03181
Brake             Carolyn          2:15‐cv‐03183
Francis           Daphne           2:15‐cv‐03191‐RMG
Artis             Pearlie          2:15‐cv‐03205‐RMG
Blackshear        Martha           2:15‐cv‐03206‐RMG
Cano              Ana              2:15‐cv‐03208‐RMG
Henck             Margaret         2:15‐cv‐03215‐RMG
Bueker            Karen            2:15‐cv‐03223
Evans             Francine         2:15‐cv‐03229‐RMG
Everette          Etta             2:15‐cv‐03230‐RMG
Holycross         Donetta          2:15‐cv‐03235‐RMG
Elias             Karen L.         2:15‐cv‐03242‐RMG
Worzack           Constance        2:15‐CV‐03244
Laureano          Elizabeth        2:15‐cv‐03277
Marks             Mary D.          2:15‐cv‐03281‐RMG
Walker            Shirley Ann      2:15‐cv‐03284‐RMG
Carter            Martha J.        2:15‐cv‐03288
Wade              Genia            2:15‐cv‐03296‐RMG
Cauthen           Anita            2:15‐cv‐03297
Watkins           Louise           2:15‐cv‐03299‐RMG
Young             Shirley A.       2:15‐cv‐03301‐RMG
Eason             Carolyn          2:15‐cv‐03312
Fox               Sherri           2:15‐cv‐03314
Dorso             Mary Ann         2:15‐cv‐03323
McGee             Violett          2:15‐cv‐03325‐RMG
Sandburg          Rhonda M.        2:15‐cv‐03326‐RMG
McAllister        Lori             2:15‐cv‐03350
Davis             Pearl L.         2:15‐cv‐03351‐RMG
Gonzalez          Nelida           2:15‐cv‐03356
Otero Cruz        Santo            2:15‐cv‐03365
Herron            Hortense         2:15‐cv‐03371
Traylor           Toni             2:15‐cv‐03372‐RMG
Armstrong         Dale             2:15‐cv‐03390
Sunderland‐Rios   Kathlene         2:15‐cv‐03391
Torres Oquendo    Nydia M          2:15‐cv‐03403
Hughes            Rudell           2:15‐cv‐03412‐RMG


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    PLAINTIFF              PLAINTIFF                                              CIVIL CASE NO.
    LAST NAME             FIRST NAME

Giannini               Pamela           2:15‐cv‐03415‐RMG
Mason                  Patricia         2:15‐cv‐03418
Charles                Diane            2:15‐cv‐03428
Echeverry              Gloria           2:15‐cv‐03429
Rodriguez              Lydia            2:15‐cv‐03430
Sanchez                Elisa            2:15‐cv‐03431
Stidham                Virginia         2:15‐cv‐03434‐RMG
Troup                  Rollie M.        2:15‐cv‐03435‐RMG
Kornegay               Phyllis          2:15‐cv‐03446
Roberts                Lisa             2:15‐cv‐03452‐RMG
Spehn                  Lisa             2:15‐cv‐03453
Webb                   Tanya            2:15‐cv‐03454‐RMG
Williams               Charmaine        2:15‐CV‐03463
Lepine                 Julie            2:15‐CV‐03464
Hollinger              Beatrice         2:15‐cv‐03468
Farrell                Eulalia          2:15‐cv‐03476
John                   Linda            2:15‐cv‐03487‐RMG
Wells‐Williams         Lillie           2:15‐cv‐03488
Williams               Liem             2:15‐cv‐03489
Collins                Jacqueline A.    2:15‐cv‐03491
HAMMONTREE             JUDY             2:15‐cv‐03492‐RMG
Fowler                 MaryAnthanette   2:15‐cv‐03496
Angjeli                Rozeta           2:15‐cv‐03503
Daly                   Patricia         2:15‐cv‐03508
Gonzalez               Carmen           2:15‐cv‐03531‐RMG
Borges                 Myrna            2:15‐cv‐03539‐RMG
Heinrich               Nelia            2:15‐cv‐03541‐RMG
Perez                  Rosa             2:15‐cv‐03543‐RMG
Barrick                Christina        2:15‐cv‐03548
VANCE                  BARBARA          2:15‐cv‐03561‐RMG
Taylor                 Julia            2:15‐cv‐03564‐RMG
Williams               Mary             2:15‐cv‐03566‐RMG
Grey                   Diana            2:15‐cv‐03567‐RMG
Overkleeft‐Fullerton   Hendrika         2:15‐cv‐03569
Massingale             MaryAnn          2:15‐cv‐03573‐RMG
Spielman               Virginia         2:15‐cv‐03574‐RMG
Tapp                   Lisa             2:15‐cv‐03575‐RMG
Matos                  Vivian           2:15‐cv‐03576‐RMG



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       PLAINTIFF          PLAINTIFF                                             CIVIL CASE NO.
       LAST NAME         FIRST NAME

Davis AKA Davis‐ Bill   Linda         2:15‐cv‐03585‐RMG
Spear                   Victoria      2:15‐cv‐03587‐RMG
Burgos                  Luz           2:15‐cv‐03595‐RMG
Vallecillo              Magda         2:15‐cv‐03598‐RMG
Reeves                  Nancy         2:15‐cv‐03618‐RMG
Scholer                 Lois          2:15‐cv‐03619‐RMG
Jackson                 Annette W.    2:15‐cv‐03629
DAWSON                  WILLIE        2:15‐cv‐03640‐RMG
Rosalez                 Nancy         2:15‐cv‐03658
Lambiris                Lika          2:15‐cv‐03680‐RMG
Bagley                  Sharon        2:15‐CV‐03682
Oraschin                Eleanor       2:15‐cv‐03693‐RMG
Ruiz                    Overlinda     2:15‐cv‐03722‐RMG
Lee                     Janice        2:15‐cv‐03723‐RMG
Kearney                 Olivia        2:15‐cv‐03744‐RMG
Saulter                 Caroline      2:15‐cv‐03745‐RMG
Appel                   Rita          2:15‐cv‐03748
Moody                   Teresa        2:15‐cv‐03759‐RMG
Orlowski                Michele       2:15‐cv‐03760‐RMG
Simons                  Genoveva      2:15‐cv‐03761‐RMG
Gibson                  Regina        2:15‐cv‐03762‐RMG
Velazquez               Lourdes       2:15‐cv‐03763‐RMG
Ron de Lopez            Armida        2:15‐cv‐03764‐RMG
Williams                Judy          2:15‐cv‐03784‐RMG
Woods‐Copes             Donna         2:15‐cv‐03785‐RMG
Strickland              Judith        2:15‐cv‐03786‐RMG
Caban                   Carmen        2:15‐cv‐03788‐RMG
Eddy                    Vera          2:15‐cv‐03789‐RMG
Navarro                 Manuela       2:15‐cv‐03791‐RMG
Byrd                    Carrie        2:15‐cv‐03795
Calhoun                 Amanda        2:15‐cv‐03796
Connell                 Linda         2:15‐cv‐03797
Dion                    Norma         2:15‐cv‐03798
Driggers                Penny         2:15‐cv‐03799
Duncan                  Jeraldine     2:15‐cv‐03800
Easterling              Yvonne        2:15‐cv‐03801
Elliott                 Lucy          2:15‐cv‐03802
Fitzhugh                Glenda        2:15‐cv‐03803
Flintom                 Shirley       2:15‐cv‐03804

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    LAST NAME         FIRST NAME

Forister          Connie           2:15‐cv‐03805
Glasgow           Patricia         2:15‐cv‐03807
Gothart           Mary             2:15‐cv‐03808
Haddon            Betty            2:15‐cv‐03809
Hammond           Carelene         2:15‐cv‐03810
Harris            Sandra           2:15‐cv‐03812
Hawthorne         Cassandra        2:15‐cv‐03813
Hayes             Evola            2:15‐cv‐03814
Moore             Adrian           2:15‐cv‐03816
Dye               Joyce            2:15‐cv‐03817
Thomas            Beverly          2:15‐cv‐03818
Reed              Sharon           2:15‐cv‐03819
Hendricks         Andrea           2:15‐cv‐03820
Hillman           Christeen        2:15‐cv‐03821
Holley            Willie           2:15‐cv‐03822
Holmes            Helen            2:15‐cv‐03823
Hughston          Judy             2:15‐cv‐03824
Johnson           Estate of Anna   2:15‐cv‐03825
Jones             Ozella           2:15‐cv‐03826
Jones             Rebecca          2:15‐cv‐03827
Kato              Kathleen         2:15‐cv‐03828
Kesler            Mary Ann         2:15‐cv‐03829
King              Janet            2:15‐cv‐03830
Lacount ‐ Kelly   Loretta          2:15‐cv‐03831
Love              Doris            2:15‐cv‐03832
Lowhorn           Donna            2:15‐cv‐03833
Majors            Gay              2:15‐cv‐03835
Martin            Gail             2:15‐cv‐03836
Massey            Gwendolyn        2:15‐cv‐03837
Mauro             Janice           2:15‐cv‐03838
McCamy            Beth             2:15‐cv‐03839
Maddox            Mary             2:15‐cv‐03840
Johnson           Kim              2:15‐cv‐03849
McGalliard        Dorothy          2:15‐cv‐03850
McFalls           Shirley          2:15‐cv‐03851
Medenblik         Jackelyn         2:15‐cv‐03852
Murphy            Dorothy          2:15‐cv‐03853
Neale             Gwenda           2:15‐cv‐03854
Nixon             Barbara          2:15‐cv‐03857
Orr               Louise           2:15‐cv‐03859

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Payton           Lillian               2:15‐cv‐03861
Peters           Rosetta               2:15‐cv‐03863
Pinkston         Gail                  2:15‐cv‐03864
Price            Kay                   2:15‐cv‐03866
Pugh             Sherrie               2:15‐cv‐03867
Phillips         Sandra                2:15‐cv‐03869
Creecy           Ellen                 2:15‐cv‐03871
Replinger        Toshiko               2:15‐cv‐03872
Crittendon       Kim                   2:15‐cv‐03874
Ramirez          Maricela              2:15‐cv‐03875
Daly             Teresa                2:15‐cv‐03876
Parker           Clairessa             2:15‐cv‐03877
O'Kane           Vita                  2:15‐cv‐03878
Nunez            Antonia               2:15‐cv‐03879
McClellan        Shirley               2:15‐cv‐03881
Massey           Teresa (Terri)        2:15‐cv‐03882
Davis            Doris                 2:15‐cv‐03884
MartinezDavila   Josephina(Josefina)   2:15‐cv‐03885
Dingess          Brenda                2:15‐cv‐03886
Dunn             Julie                 2:15‐cv‐03888
Mancil           Joan                  2:15‐cv‐03889
Durando          Carol                 2:15‐cv‐03891
Edwards          Betty                 2:15‐cv‐03892
Long             Arlene                2:15‐cv‐03893
Floyd            Alberta               2:15‐cv‐03894
Foggie           Catherine             2:15‐cv‐03896
Forward          Kay                   2:15‐cv‐03898
Frazier          Janice                2:15‐cv‐03900
Fuchs            Debra                 2:15‐cv‐03902
Green            Arlene                2:15‐cv‐03903
Hall             Beulah                2:15‐cv‐03905
Hayes            Margaret              2:15‐cv‐03906
Heatherly        Linda                 2:15‐cv‐03907
Hicks            Doris                 2:15‐cv‐03908
Hill             Beverly               2:15‐cv‐03909
Holmes           Rosie                 2:15‐cv‐03911
Horvath          Diann                 2:15‐cv‐03912
Hough            Jo Ann                2:15‐cv‐03913
Hughes           Peggy                 2:15‐cv‐03914

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    LAST NAME       FIRST NAME

Ignasiak        Paulette         2:15‐cv‐03915
Jacobs          Sandy            2:15‐cv‐03916
Lambert         Donna            2:15‐cv‐03917
Richardson      Connie           2:15‐cv‐03925
Robinson        Sandra           2:15‐cv‐03927
Roche           Carla            2:15‐cv‐03928
Roldan          Alicia           2:15‐cv‐03929
Rone            Patricia         2:15‐cv‐03930
Roquemore       Elwanda          2:15‐cv‐03932
Shiflett        Nola             2:15‐cv‐03936
Shows           Estate of Lucy   2:15‐cv‐03937
Simpson         Ester            2:15‐cv‐03938
Slone           Viola            2:15‐cv‐03939
Sopko           Lynette          2:15‐cv‐03940
Stevens         Ella             2:15‐cv‐03941
Stockton        Shirley          2:15‐cv‐03942
Stoffer         Charlotte        2:15‐cv‐03943
Strozier        Carolyn          2:15‐cv‐03944
Thompson        Betty            2:15‐cv‐03948
Throckmorton    Judith           2:15‐cv‐03949
Tipping         Judy             2:15‐cv‐03950
Tripp           Ella             2:15‐cv‐03952
Troncale        Mary Jo          2:15‐cv‐03954
Turner          Peggy            2:15‐cv‐03955
Villot          Lou              2:15‐cv‐03956
Whaley (Dec.)   Martha           2:15‐cv‐03958
Williams        Barbara          2:15‐cv‐03959
Woolfolk        Jennifer         2:15‐cv‐03961
Wright          Janet            2:15‐cv‐03962
Youngs          Anna             2:15‐cv‐03964
Zerba           Iris             2:15‐cv‐03965
Stephens        Angela           2:15‐cv‐03967‐RMG
Reshef          Margaret         2:15‐cv‐03968‐RMG
Williams        Minnie           2:15‐cv‐03970‐RMG
Riley           Jeanne           2:15‐cv‐03971‐RMG
Cameron         Renee J.         2:15‐cv‐03974‐RMG
Guertin         Rebel L.         2:15‐cv‐03980‐RMG
King            Nancy            2:15‐cv‐03981‐RMG
Washington      Brenda           2:15‐cv‐03982‐RMG
Meadows         Donna            2:15‐cv‐03984

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    LAST NAME       FIRST NAME

Whitley          Bonnie          2:15‐cv‐04015‐RMG
Abson‐Starling   Ruthie          2:15‐cv‐04026‐RMG
Adair            Susan           2:15‐cv‐04027‐RMG
Flores           Maria           2:15‐cv‐04028‐RMG
Pereira          Alexandrina     2:15‐cv‐04029‐RMG
Broadhead        Shirley         2:15‐cv‐04034‐RMG
Strader          Phyllis         2:15‐cv‐04035‐RMG
Hott             Shawn           2:15‐cv‐04036‐RMG
Smith            Georganna       2:15‐cv‐04037‐RMG
Bryant           Joyce           2:15‐cv‐04038
Dorton           Donna           2:15‐cv‐04041
Anderson         BJ              2:15‐cv‐04046‐RMG
Ayala Bladt      Carmen          2:15‐cv‐04048‐RMG
Barley           Maggie          2:15‐cv‐04049‐RMG
Baggett          Elizabeth       2:15‐cv‐04050‐RMG
JENKINS          GENEVIEVE       2:15‐cv‐04052‐RMG
KODIAK           DIANA           2:15‐cv‐04053‐RMG
CHRISTIAN        SHIRLEY         2:15‐cv‐04054‐RMG
EASTMAN          JOAN            2:15‐cv‐04055‐RMG
Matter           Pamela          2:15‐cv‐04056‐RMG
Doyle            Jenise          2:15‐cv‐04057‐RMG
Bergeron         Nancy           2:15‐cv‐04068‐RMG
Bynum            Barbara         2:15‐cv‐04069‐RMG
Caballero        Dora            2:15‐cv‐04070‐RMG
Tracy            Laverne         2:15‐cv‐04075
Humble           Sherry          2:15‐cv‐04078
Hamilton         Annie           2:15‐cv‐04096
Mallow            Linda L.       2:15‐cv‐04122‐RMG
Weaver           Kelley          2:15‐cv‐04123‐RMG
Whelband         Lillian         2:15‐cv‐04124‐RMG
Lewis‐Lester     Angel           2:15‐cv‐04126‐RMG
Garcia           Bertha          2:15‐cv‐04127‐RMG
Wethington       Rita            2:15‐cv‐04128‐RMG
Garcia           Miriam          2:15‐cv‐04129
Gruber           Laurette        2:15‐cv‐04130
Woolfolk         Theresa         2:15‐cv‐04138‐RMG




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    LAST NAME           FIRST NAME

Ling                Sharon           2:15‐cv‐04139‐RMG
Noll                Maureen          2:15‐cv‐04141‐RMG
Coleman             Mary             2:15‐cv‐04158‐RMG
Cino                Marla            2:15‐cv‐04159‐RMG
Ceaser              Janace           2:15‐cv‐04221
Goldsmith           Jacqueline       2:15‐cv‐04222
Pardee              Jean             2:15‐cv‐04224
McLennan            Dawn             2:15‐cv‐04234
Tharrington         Kimberly R.      2:15‐cv‐04239
Jones               Mary Ann         2:15‐cv‐04240
Tyler               Nenita           2:15‐cv‐04243
Woodberry           Rosa             2:15‐cv‐04245
Smith               Gracie           2:15‐cv‐04267‐RMG
Touchard            Myriam           2:15‐cv‐04272
Oakley              Gloria T.        2:15‐cv‐04278‐RMG
Wilson              Doris            2:15‐cv‐04282‐RMG
Gillard             Nettie           2:15‐cv‐04295‐RMG
Osorio              Marta            2:15‐cv‐04344
Whittington         Marion           2:15‐cv‐04346
McCorkle            Ossie            2:15‐cv‐04373
Lee                 Christina        2:15‐cv‐04376
Vohs                Mary             2:15‐cv‐04377
Allen               Julia            2:15‐cv‐04392
Lewis               Judy             2:15‐cv‐04393
Hennington‐Taylor   Sharon           2:15‐cv‐04394
Wydra               Peggy            2:15‐cv‐04396‐RMG
DALESANDRO          CAROL            2:15‐cv‐04402‐RMG
SOUTHWARD           ARETA            2:15‐cv‐04403‐RMG
JESSEN              GLORIA           2:15‐cv‐04404‐RMG
THOMPSON            MARY             2:15‐cv‐04405‐RMG
ROPER               ROSE             2:15‐cv‐04406‐RMG
Walker              Terry            2:15‐cv‐04416‐RMG




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    LAST NAME       FIRST NAME

Stanton         Florene          2:15‐cv‐04418
Flugence        Alona            2:15‐cv‐04425
Churchman       Teri             2:15‐cv‐04426
James           Betty            2:15‐cv‐04427
Gross           Darlene          2:15‐cv‐04428
Hulett          Carolyn          2:15‐cv‐04429
Norman          Cheryl           2:15‐cv‐04432
Holt            Roberta          2:15‐cv‐04433
Baldwin(Dec.)   Polly            2:15‐cv‐04507
Chaney          Annie            2:15‐cv‐04508
Choice          Stephanie        2:15‐cv‐04509
Cole            Frances          2:15‐cv‐04510
Davis           Erma             2:15‐cv‐04517
Johnson         Linda            2:15‐cv‐04524
Morciglio       Ivette           2:15‐cv‐04527
Stewart         Sandra           2:15‐cv‐04528
Friday          Diane            2:15‐cv‐04529
Hopewell        Elaine           2:15‐cv‐04539
Lee             Mary             2:15‐cv‐04540
Loftin          Jane             2:15‐cv‐04541
Moshiri         Soraya           2:15‐cv‐04543
Quedens         Joy              2:15‐cv‐04544
Teague          Judy             2:15‐cv‐04545
Wright          Patricia         2:15‐cv‐04546
Smith           Elizabeth M.     2:15‐cv‐04547
Foote           Beverly          2:15‐cv‐04572‐RMG
Somers          Diane            2:15‐cv‐04578
Wilson          Sungerett        2:15‐cv‐04646‐RMG
McGlone         Thelma           2:15‐cv‐04659
Leflore         Kathleen         2:15‐cv‐04687
Casal           Lourdes          2:15‐cv‐04705




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    LAST NAME       FIRST NAME

Salser          Becky            2:15‐cv‐04706
Gamble          Mary             2:15‐cv‐04707
Samrow          Brenda           2:15‐cv‐04708
Anderson        Becki            2:15‐cv‐04709‐RMG
Boyer           Linda J.         2:15‐cv‐04710
Lee             Betty            2:15‐cv‐04740‐RMG
Peters          Philippa         2:15‐cv‐04752
Halbert         Norma            2:15‐cv‐04764‐RMG
Flanagan        Carol            2:15‐cv‐04766
Seal            Linda            2:15‐cv‐04790‐RMG
Sapkaroski      Daryl (Krste)    2:15‐cv‐04815
DeCicco         Deborah          2:15‐cv‐04833‐RMG
Miller          Patricia         2:15‐cv‐04834‐RMG
Thompson        Jane             2:15‐cv‐04869
Wilson          Marva            2:15‐cv‐04904
Wurzelbacher    Jacqueline       2:15‐cv‐04921‐RMG
Steed           Orlesia          2:15‐cv‐04945
Brown           Theresa          2:15‐cv‐04987‐RMG
Myers           Carol            2:15‐cv‐05003
Foster          Dorothy C.       2:15‐cv‐05014
Webber          Claudia J.       2:15‐cv‐05015‐RMG
Adams           Cathy            2:15‐cv‐05019‐RMG
Watrus          Jean             2:15‐cv‐05046‐RMG
Rader           Sandra           2:15‐cv‐05056‐RMG
Brown           Shirley          2:15‐cv‐05088
James           Gladys           2:15‐cv‐05089
Sheffey         Grace            2:15‐cv‐05102
Presley         Deborah          2:16‐cv‐00007‐RMG
Simpson         Patricia         2:16‐cv‐00008
Derflinger      Caridad          2:16‐cv‐00013




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   LAST NAME       FIRST NAME

Diehl          Dolores          2:16‐cv‐00022
Herstein       Claire           2:16‐cv‐00047‐RMG
Newvine        Jennifer         2:16‐cv‐00054‐RMG
Gann           Peggy            2:16‐cv‐00055‐RMG
Woodard        Eloise           2:16‐cv‐00056‐RMG
Devore         Elizabeth        2:16‐cv‐00057‐RMG
Eason          Mary             2:16‐cv‐00061‐RMG
McCall         Marian           3:13‐cv‐02764‐RMG
Brooks         Linda            3:14‐cv‐00154‐RMG
Christiano     Janet            3:14‐cv‐00545‐RMG
Papcun         Christine        4:13‐cv‐01422
Fernandez      Patricia         4:13‐cv‐01423
McClam         Harriet          4:13‐cv‐02148‐RMG
Haynesworth    Rose Marie       4:13‐cv‐02767‐RMG
Farr           Emily            5:13‐cv‐02741‐RMG
Mosley         Rhonda           5:14‐cv‐00155
Keitt          Rosa             5:14‐cv‐00525‐RMG
Blackham       Irene            6:14‐cv‐00530‐RMG
Durocher       Juanita          7:13‐cv‐01965
Williams       Brenda           8:13‐cv‐01421
Adams          Janice           8:13‐cv‐01735‐RMG
Thompson       Shelby           8:13‐cv‐02763‐RMG
Long           Sherrill         8:13‐cv‐02768‐RMG




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